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                   EXHIBIT 1
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

  AZURITY PHARMACEUTICALS, INC.,

                         Plaintiff,
                                                                C.A. No. 21-1286-MSG
         v.
                                                                    (consolidated)
  BIONPHARMA INC. AND NOVITIUM
  PHARMA, LLC,

                         Defendants.

   DEFENDANT BIONPHARMA’S OBJECTIONS AND RESPONSES TO PLAINTIFF
                      AZURITY’S SIXTH SET OF
        REQUESTS FOR PRODUCTION TO BIONPHARMA (Nos. 121-129)

        Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Defendant

 Bionpharma Inc. (“Bionpharma”) hereby objects and responds to Plaintiff Azurity

 Pharmaceuticals, Inc.’s (“Plaintiff” or “Azurity”) Sixth Set of Requests For Production of

 Documents (Nos. 121-129). These objections and responses are based on Bionpharma’s current

 understanding, knowledge and belief.       As discovery is still progressing and these cases,

 Bionpharma’s factual investigation and trial preparation is ongoing. Bionpharma reserves the right

 to supplement its responses as discovery progresses in this action.

                                      GENERAL OBJECTIONS

        Bionpharma hereby incorporates by reference, as though fully set forth herein, the General

 Objections and Objections to Plaintiff’s Definitions and Instructions in Defendant Bionpharma’s

 Objections and Response to Plaintiff Azurity’s First Set of Requests of Production (Nos. 1-32) and

 Defendant Bionpharma’s Objections and Responses to Plaintiff’s First Set of Interrogatories (Nos.

 1-10), both served on June 9, 2022. Bionpharma also hereby incorporates by reference, as though

 fully set forth herein, the General Objections and Objections to Plaintiff’s Definitions and
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 Instructions in Defendant Bionpharma’s Objections and Responses to Plaintiff Azurity’s Second

 Set of Requests of Production (Nos. 33-35), served on July 7, 2022. Bionpharma also hereby

 incorporates by reference, as though fully set forth herein, the General Objections and Objections

 in Defendant Bionpharma’s Objections and Responses to Plaintiff’s Third Set of Requests for

 Production (Nos. 36-70), served on November 10, 2022, and in Defendant Bionpharma’s

 Objections and Responses to Plaintiff’s Fourth Set of Requests for Production (Nos. 71-80), served

 on November 28, 2022, and in Defendant Bionpharma’s Objections and Responses to Plaintiff’s

 Fifth Set of Request for Production (Nos. 81-120), served on December 1, 2022.

                       SPECIFIC OBJECTIONS AND RESPONSES TO
                       PLAINTIFF’S REQUESTS FOR PRODUCTION



        All transcripts (and exhibits), including rough and final versions, as well as errata, and
 video and audio recordings of all depositions conducted in Bionpharma Inc. v. CoreRx, Inc., Case
 No. 1:21-cv-10656-JGK (S.D.N.Y.).



        In addition to its general objections, incorporated herein by reference, Bionpharma objects

 on the ground that it is overly broad and as seeking information not relevant to any claim or defense

 in these cases. Bionpharma Inc. v. CoreRx, Inc., Case No. 1:21-cv-10656-JGK (S.D.N.Y.)

 (“Bionpharma v. CoreRx”) is a breach of contract suit between Bionpharma and the former

 supplier for its ANDA product, which happens to be Azurity’s corporate sister. The instant suits

 involve patent and antitrust claims. Moreover, Azurity is not a party in the Bionpharma v. CoreRx

 suit, and CoreRx is not a party to the instant Third Wave Suits. Thus, the instant Third Wave Suits

 and the Bionpharma v. CoreRx suits are not related and involve different claims and parties. As

 such, many of the documents sought through this request have no or very little relevance to the

 patent and antitrust claims and defenses in these Third Wave Suits, and requiring Bionpharma to



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 gather and produce documents responsive to this Request would be disproportional to the needs

 of the case, particularly given the overbroad nature of this Request.

        Bionpharma also objects to this Request on the grounds that it seeks the production of

 documents and things that are confidential and subject to a protective order and/or other

 restrictions on access.

        Bionpharma further objects to this Request on the ground that it seeks documents already

 with Azurity’s possession, custody, or control. Specifically, CoreRx is Azurity’s corporate sister,

 and therefore the documents sought through this Request are already in Azurity’s control.

        Pursuant to and without waiving the foregoing objections, Bionpharma will not produce

 documents and things responsive to this Request.



        All transcripts (and exhibits), including rough and final versions, as well as errata, of all
 proceedings, including trials and hearings, held in Bionpharma Inc. v. CoreRx, Inc., Case No. 1:21-
 cv-10656-JGK (S.D.N.Y.).



        In addition to its general objections, incorporated herein by reference, Bionpharma objects

 on the ground that it is overly broad and as seeking information not relevant to any claim or defense

 in these cases. Bionpharma Inc. v. CoreRx, Inc., Case No. 1:21-cv-10656-JGK (S.D.N.Y.)

 (“Bionpharma v. CoreRx”) is a breach of contract suit between Bionpharma and the former

 supplier for its ANDA product, which happens to be Azurity’s corporate sister. The instant suits

 involve patent and antitrust claims. Moreover, Azurity is not a party in the Bionpharma v. CoreRx

 suit, and CoreRx is not a party to the instant Third Wave Suits. Thus, the instant Third Wave Suits

 and the Bionpharma v. CoreRx suits are not related and involve different claims and parties. As

 such, many of the documents sought through this request have no or very little relevance to the




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 patent and antitrust claims and defenses in these Third Wave Suits, and requiring Bionpharma to

 gather and produce documents responsive to this Request would be disproportional to the needs

 of the case, particularly given the overbroad nature of this Request. For example, the transcript of

 a hearing on a request for leave to move for partial summary judgment on a contract damages

 claim has absolutely nothing to do with the patent and antitrust claims and defenses in these Third

 Wave Suits. Similarly, the transcript of a hearing dealing with scheduling has nothing to do with

 the issues in these Third Wave Suits.

        Bionpharma also objects to this Request on the grounds that it seeks the production of

 documents and things that are confidential and subject to a protective order and/or other

 restrictions on access.

        Bionpharma further objects to this Request on the ground that it seeks documents already

 with Azurity’s possession, custody, or control. Specifically, CoreRx is Azurity’s corporate sister,

 and therefore the documents sought through this Request are already in Azurity’s control.

        Pursuant to and without waiving the foregoing objections, Bionpharma will not produce

 documents and things responsive to this Request.



        All expert reports and exhibits produced in Bionpharma Inc. v. CoreRx, Inc., Case No.
 1:21-cv-10656-JGK (S.D.N.Y.).



        In addition to its general objections, incorporated herein by reference, Bionpharma objects

 on the ground that it is overly broad and as seeking information not relevant to any claim or defense

 in these cases. Bionpharma Inc. v. CoreRx, Inc., Case No. 1:21-cv-10656-JGK (S.D.N.Y.)

 (“Bionpharma v. CoreRx”) is a breach of contract suit between Bionpharma and the former

 supplier for its ANDA product, which happens to be Azurity’s corporate sister. The instant suits



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 involve patent and antitrust claims. Moreover, Azurity is not a party in the Bionpharma v. CoreRx

 suit, and CoreRx is not a party to the instant Third Wave Suits. Thus, the instant Third Wave Suits

 and the Bionpharma v. CoreRx suits are not related and involve different claims and parties. As

 such, many of the documents sought through this request have no or very little relevance to the

 patent and antitrust claims and defenses in these Third Wave Suits, and requiring Bionpharma to

 gather and produce documents responsive to this Request would be disproportional to the needs

 of the case, particularly given the overbroad nature of this Request.

        Bionpharma also objects to this Request on the grounds that it seeks the production of

 documents and things that are confidential and subject to a protective order and/or other

 restrictions on access.

        Bionpharma further objects to this Request on the ground that it seeks documents already

 with Azurity’s possession, custody, or control. Specifically, CoreRx is Azurity’s corporate sister,

 and therefore the documents sought through this Request are already in Azurity’s control.

        Pursuant to and without waiving the foregoing objections, Bionpharma will not produce

 documents and things responsive to this Request.



        Documents and communications between You and CoreRx relating to Signet.



        In addition to its general objections, incorporated herein by reference, Bionpharma objects

 to this Request as seeking documents that have no relevance to the claims and defenses in these

 cases. Specifically, any communications between Bionpharma and CoreRx pertaining to Signet—

 an investor in Bionpharma that is not a party to the instant Third Wave Suits—have no apparent

 relevance to the claims and defenses in these cases.




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 5 years would be disproportional to the needs of the case, given that Azurity already has in its

 possession documents concerning Bionpharma’s legal expenditures as outlined herein.

           No further documents will be produced in response to this Request.



           Your receipts, bills, or invoices substantiating Your claimed damages relating to litigation
 costs.



           In addition to its general objections, incorporated herein by reference, Bionpharma objects

 to this Request on the ground that it is essentially duplicative of Request No. 127, and Bionpharma

 hereby incorporates its objections and responses to that Request as if fully set forth herein.



         All documents and communications between You and CoreRx related to the November
 2020 Bionpharma-CoreRx Master Manufacturing Supply Agreement, the CoreRx Suits, or
 Bionpharma Inc. v. CoreRx, Inc., Case No. 1:21-cv-10656-JGK (S.D.N.Y.), including but not
 limited to any proposed or agreed-upon indemnification provision.



           In addition to its general objections, incorporated herein by reference, Bionpharma objects

 to this Request as being essentially duplicative of Request Nos. 91, 121-123, and 124, and

 Bionpharma hereby incorporates its objections and responses to that Request as if fully set forth

 herein.



 Dated: April 17, 2023

                                                         /s/ Megan C. Haney
                                                         John C. Phillips, Jr. (#110)
                                                         Megan C. Haney (#5016)
                                                         PHILLIPS, MCLAUGHLIN & HALL, P.A.
                                                         1200 North Broom Street
                                                         Wilmington, DE 19806



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                                            (302) 655-4200
                                            jcp@pmhdelaw.com
                                            mch@pmhdelaw.com

                                            Of Counsel:

                                            Andrew M. Alul
                                            Roshan P. Shrestha, Ph.D.
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            111 East Wacker Drive, Suite 2800
                                            Chicago, IL 60601
                                            312-527-4000
                                            aalul@taftlaw.com
                                            rshrestha@taftlaw.com

                                            Aaron M. Johnson
                                            TAFT STETTINIUS & HOLLISTER LLP
                                            2200 IDS Center
                                            80 South Eighth Street
                                            Minneapolis, MN 55402
                                            612-977-8400
                                            ajohnson@taftlaw.com

                                            Christopher J. Kelly
                                            MAYER BROWN LLP
                                            Two Palo Alto Square
                                            3000 El Camino Real
                                            Palo Alto, CA 94306-2112
                                            (650) 331-2000
                                            cjkelly@mayerbrown.com




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 Wilson Sonsini Goodrich & Rosati
 1700 K Street, NW, Fifth Floor
 Washington, DC 20006
 jbank@wsgr.com
 apoonai@wsgr.com

 Azuritybionpharma505@wsgr.com

                                     /s/ Megan C. Haney
                                     Megan C. Haney (No. 5016)




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                   EXHIBIT 2
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  HOLLAND & KNIGHT LLP
  31 West 52nd Street
  New York, New York 10019
  Phone: (212) 513-3200
  Fax: (212) 385-9010

  Attorneys for Plaintiff,
  Bionpharma, Inc.

                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK
  _________________________________________
  BIONPHARMA INC.,                          )
                                            )
                                Plaintiff,  )
                                            )
                    v.                      ) COMPLAINT
                                            )
  CORERX, INC.,                             )
                                            )
                                Defendant.  )
  _________________________________________ )

         Plaintiff Bionpharma Inc. (“Bionpharma”), by way of complaint against defendant

  CoreRx, Inc. (“CoreRx”), alleges and says:

                                          THE PARTIES

         1.      Plaintiff Bionpharma is a Delaware corporation with its principal place of

  business at 600 Alexander Road, Suite 2-4B, Princeton, New Jersey.

         2.      Defendant CoreRx is a Florida corporation with its principal place of business at

  14205 Myerlake Circle, Clearwater, Florida.


                                  JURISDICTION AND VENUE

         3.      This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1332(a)(1) and

  28 U.S.C. § 2201(a). Complete diversity of citizenship exists because this action involves a
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  dispute between citizens of different states and the amount in controversy, exclusive of interest

  and costs, exceeds the sum or value of $75,000.

         4.      This Court has personal jurisdiction over CoreRx at least because CoreRx

  consented to jurisdiction in this Court (Exhibit A, Section 16.8).

         5.      Venue is proper based in this district at least because CoreRx consented to venue

  in this Court (Exhibit A, Section 16.8).

                                             BACKGROUND

         6.      In November 2020, Bionpharma and CoreRx entered into that certain Master

  Manufacturing Supply Agreement (the “Agreement”) concerning in part terms under which (i)

  CoreRx is to supply Bionpharma’s requirements of enalapril solution (the “Product”) generic to

  the branded product Epaned, and (ii) Bionpharma is to purchase its requirements of the Product

  from CoreRx (Exhibit A, Section 5.1). A copy of the Agreement, with financial terms and

  nonpublic information concerning the Product omitted, is annexed hereto as Exhibit A.

         7.      The purpose of the Agreement is for Bionpharma to acquire Product for resale in

  the wholesale market for generic pharmaceuticals.

         8.      Bionpharma holds approved Abbreviated New Drug Application (“ANDA”)

  A212408 for the Product, and commenced selling the Product pursuant to that approval on or

  about August 17, 2021.

         9.      Pursuant to 21 U.S.C. § 355(j)(5)(B)(iv), no other ANDA based on Epaned as the

  reference listed drug may be approved prior to February 13, 2022. Accordingly, at least until

  that date, Bionpharma enjoys a period during which the Product is the only approved generic to

  Epaned in the United States.

         10.     In order to obtain approval of its ANDA for the Product and maintain freedom to



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  sell the Product, Bionpharma expended and continues to expend significant resources to defeat

  claims for patent infringement filed against it by Azurity Pharmaceuticals, Inc. (“Azurity”),

  which holds the marketing authorization for Epaned, and Azurity’s predecessor Silvergate

  Pharmaceuticals, Inc. (“Silvergate”).

         11.     In December 2018, Silvergate (subsequently Azurity) sued Bionpharma in the

  U.S. District Court for the District of Delaware for infringement of several patents on account of

  Bionpharma’s submission of an ANDA seeking approval to sell the Product. That case went to

  trial, and on April 27, 2021, the district court ruled that the Product did not infringe the

  remaining asserted patents. Silvergate Pharms., Inc. v. Bionpharma Inc., C.A., No. 18-1962-

  LPS (D. Del.), ECF No. 257, Apr. 27, 2021 Op.; Silvergate Pharms. Inc. v. Bionpharma Inc.,

  C.A. No. 19-1067-LPS (D. Del.), ECF No. 244, Apr. 27, 2021 Op.; Silvergate Pharms., Inc. v.

  Bionpharma Inc., No. CV 18-1962-LPS 2021, WL 1751148 (D. Del., April 29, 2021) (redacted

  public version of Apr. 27, 2021 Op. in C.A. Nos. 18-1962-LPS and 19-1067-LPS (D. Del.)

  (“First Wave Suits”)). On April 29, 2021, the district court entered final judgment in

  Bionpharma’s favoring the First Wave Suits. Silvergate Pharms., Inc. v. Bionpharma Inc., C.A.,

  No. 18-1962-LPS (D. Del.), ECF No. 270, Final J.; Silvergate Pharms., Inc. v. Bionpharma Inc.,

  C.A., No. 19-1067-LPS (D. Del.), ECF No. 257, Final J. A related action that Azurity filed

  against Bionpharma on September 18, 2020 involving later-issued patents in the same family—

  Silvergate Pharmaceuticals, Inc. v. Bionpharma Inc., C.A. No. 20-1256-LPS (D. Del.) (“Second

  Wave Suit”)—was dismissed with prejudice absent a ruling on appeal of the First Wave Suits

  eliminating collateral estoppel.

         12.     Having lost the First and Second Wave Suits in Delaware, Azurity decided to try

  its luck in a different jurisdiction, and filed a new case in June 2021 against Bionpharma in the



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  U.S. District Court for the District of New Jersey, alleging that sale of the Product would

  infringe yet another patent. Azurity sought a preliminary injunction, which Bionpharma

  opposed. Recognizing Azurity’s forum shopping, the District of New Jersey granted

  Bionpharma’s motion to transfer the case to the District of Delaware. After the case was

  transferred, the District of Delaware denied Azurity’s motion for a preliminary injunction on

  November 10, 2021, finding, inter alia, that Azurity had not shown a likelihood of success on the

  merits. Azurity Pharms., Inc. v. Bionpharma Inc., No. 21-cv-01286-LPS (D. Del.), ECF No. 87,

  Nov. 10, 2021 Oral Order. On October 15, 2021, Azurity filed yet another suit against

  Bionpharma involving yet another continuation patent. Azurity Pharms., Inc. v. Bionpharma

  Inc., C.A. No. 21-1455-LPS (D. Del.). Both C.A. Nos. 21-1286-LPS and 21-1455-LPS (D. Del.)

  (“Third Wave Suits”) remain pending.

         13.   Not content to litigate only against Bionpharma, Azurity in October 2021 also filed

  two substantially identical suits against CoreRx, alleging that CoreRx’s actions in manufacturing

  the Product for Bionpharma infringed two patents that Azurity was already asserting against

  Bionpharma in connection with the Third Wave Suits. Azurity Pharms., Inc. v. CoreRx, Inc.,

  1:21-cv-01522 (D. Del.); Azurity Pharms., Inc. v. CoreRx, Inc., 8:21-cv-02515 (M.D. Fla.).

         14.     On or about November 26 and 29, 2021, Azurity voluntarily dismissed both of its

  suits against CoreRx. ECF No. 6, Azurity Pharms., Inc. v. CoreRx, Inc., 1:21-cv-01522 (D.

  Del.); ECF No. 16, Azurity Pharms., Inc. v. CoreRx, Inc., 8:21-cv-02515 (M.D. Fla.).

         15.     By virtue of the dismissals of the two cases filed against it by Azurity, CoreRx

  cannot have a reasonable apprehension that it might face liability to Azurity on account of

  purported patent infringement arising from CoreRx manufacturing the Product for Bionpharma.

  FED. R. CIV. P. 41(a)(1)(B).



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         16.      Further, the terms of the Agreement generally provide for indemnification by

  Bionpharma of CoreRx for claims for patent infringement arising from CoreRx’s manufacture of

  the Product for Bionpharma. (Exhibit A Sections 13.1 and 13.3).

         17.      On November 30, 2021, CoreRx sent a fax to Bionpharma stating “as of

  December 1, 2021, CoreRx will be unable to supply enalapril maleate for” the Product. A copy

  of that notice is annexed hereto as Exhibit B.

         18.      In response to that fax, Bionpharma requested that CoreRx advise Bionpharma

  why CoreRx was not able to supply the Product, demanded that CoreRx continue to supply the

  Product, and gave notice of CoreRx’s breach of the Agreement. A copy of Bionpharma’s

  correspondence to CoreRx is annexed hereto as Exhibit C.

         19.      On or about August 26, 2021, Bionpharma had placed an order with CoreRx for a

  quantity of Product in accordance with the forecasts provided to CoreRx. A copy of the order,

  with financial terms and nonpublic information concerning the Product omitted, is annexed

  hereto as Exhibit D.

         20.      The order referred to in paragraph 19 above is a Firm Order pursuant to the

  Agreement (Exhibit A Section 5.3), and complies with all contractual formalities and

  requirements.

         21.      CoreRx has manufactured and Bionpharma has taken possession of approximately

  30% of the ordered Product from the order referred to in paragraph 19. The balance remains

  outstanding. These bottles of Product had been scheduled to be shipped by CoreRx to

  Bionpharma on December 28, 2021.

         22.      In addition to the correspondence in Exhibit B, CoreRx has advised Bionpharma

  that it will not manufacture and ship to Bionpharma the remaining approximately bottles of



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  Product that are the subject of the Firm Order.

         23.     Upon information and belief, based on the following, CoreRx procured its

  purported inability to supply Product to Bionpharma through an agreement with Azurity, which

  is now a sister company of CoreRx under private equity control:

                 a.     In or around January 2021, CoreRx was purchased by Novaquest

                 Investment Management or an affiliate (“Novaquest”).

                 b.     Novaquest also owns Azurity.

                 c.     Of the seven members of the board of directors of CoreRx, five are also on

                 the board of directors of Azurity (the “Overlapping Directors”), and several also

                 have positions at Novaquest:

                        1.      Frank Leo – board member of CoreRx; chairman of the board of

                                Azurity.

                        2.      Nailesh Bhatt – board member of CoreRx; board member of

                                Azurity.

                        3.      Jeff Edwards – board member of CoreRx; board member of

                                Azurity; founder and investment committee member of Novaquest.

                        4.      Ashton Poole – board member of CoreRx; board member of

                                Azurity; partner at Novaquest.

                        5.      Vern Davenport – board member of CoreRx; board member of

                                Azurity; partner and member of the private equity investment

                                committee at Novaquest.

                 d.     The five Overlapping Directors named above also constitute a majority of

                 the seven-member board of Azurity.



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              e.     In addition to the Overlapping Directors, Ajay Damani, who became CEO

              and a board member of CoreRx in October 2021, was immediately prior to that a

              Strategic Advisor with Novaquest.

              f.     The fax from CoreRx to Bionpharma stating that CoreRx would no longer

              supply Product to Bionpharma was sent on November 30, 2021, i.e., one day after

              the dismissal of the second suit against CoreRx by Azurity, which was filed on

              November 26, 2021, suggesting a connection between dismissal of Azurity’s

              complaints against CoreRx and CoreRx’s refusal to continue supplying

              Bionpharma.

              g.     On December 7, 2021, Azurity filed a letter in one of the Third Wave

              Suits against Bionpharma (21-1286-LPS (D. Del.)) stating that “Azurity’s

              dismissals against CoreRx Inc., Bionpharma’s manufacturer, were resolved and

              dismissed by mutual agreement.” A copy of the letter is annexed hereto as

              Exhibit E.

              h.     The cessation of generic competition for Epaned resulting from CoreRx’s

              refusal to supply Product to Bionpharma directly benefits Azurity, which is

              related to CoreRx through Novaquest.

              i.     Other than seeking to benefit its related company Azurity, there is no

              apparent economic or business reason for CoreRx to discontinue supply of

              Product to Bionpharma under the Agreement.

              j.     On or about November 19, 2021, CoreRx complained to Bionpharma that

              the price it had negotiated for supply of Product in the Agreement was too low,

              and that it wanted Bionpharma to agree to a substantial price increase, even



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                 though the price in the Agreement had been negotiated just one year ago, and

                 even though the costs of materials and manufacturing had not substantially

                 increased between the time the Agreement was entered into in November 2020

                 and CoreRx’s demand for a price increase in November 2021.

                 k.     CoreRx has refused to tell Bionpharma the reason why it is purportedly

                 unable to continue supply of Product to Bionpharma under the Agreement.

                 l.     CoreRx has not experienced a Force Majeure Event under the Agreement

                 (Exhibit A Section 16.9).

                             COUNT 1 – BREACH OF CONTRACT

         24.     Bionpharma incorporates all prior allegations as if set forth fully herein.

         25.     Bionpharma has performed its obligations under the Agreement.

         26.     By refusing to supply Product to Bionpharma under the terms set forth in the

  Agreement, CoreRx has breached and is in breach of the Agreement.

         27.     Bionpharma will suffer damages on account of CoreRx’s breach of the

  Agreement.

         28.     Manufacture and sale of the Product is subject to and regulated under the federal

  Food, Drug & Cosmetic Act, and implementing regulations adopted by the U.S. Food &

  Administration.

         29.     Given that CoreRx gave Bionpharma only one day notice that CoreRx would not

  continue to supply Product under the Agreement, Bionpharma cannot secure an alternate supplier

  of Product before it exhausts the inventory of Product it has on hand.

         30.     If CoreRx does not continue to supply Product under the Agreement until

  Bionpharma is able to secure an alternate supplier, Bionpharma will suffer irreparable injury.



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                           COUNT 2 – DECLARATORY JUDGMENT

         31.     Bionpharma incorporates all prior allegations as if set forth fully herein.

         32.     By virtue of the foregoing, there is an actual and present controversy between

  Bionpharma and CoreRx that is amenable to resolution by declaratory judgment.

                                      PRAYER FOR RELIEF

         WHEREFORE, plaintiff Bionpharma demands judgment against defendant CoreRx as

  follows:

         A.      For injunctive relief compelling CoreRx to continue to supply Product for the

  duration of the Agreement under the terms thereof, or at least until Bionpharma is able to arrange

  for, and secure sufficient quantities of Product from an alternate supplier.

         B.      Declaring that CoreRx is in breach of the Agreement, and that it is required to

  continue to supply Product for the duration of the Agreement under the terms thereof.

         C.      Awarding Bionpharma its actual damages.

         D.      Awarding costs of suit and reasonable attorneys’ fees.

         E.      Awarding such other and further relief as may be appropriate.

  DATED: December 13, 2021
                                                        HOLLAND & KNIGHT LLP

                                                        By: /s/ Charles A. Weiss
                                                        Charles A. Weiss
                                                        Marisa Marinelli
                                                        31 West 52nd Street
                                                        New York, NY 10019
                                                        Telephone: (212) 513-3200
                                                        charles.weiss@hklaw.com
                                                        marisa.marinelli@hklaw.com

                                                        Attorneys for Plaintiff,
                                                        Bionpharma, Inc.




                                                   9
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                   EXHIBIT 3
Case 1:21-cv-01286-MSG
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                                                                                                          Wilson Sonsini Goodrich & Rosati
                                                                                                          Professional Corporation
                                                                                                          1700 K Street NW
                                                                                                          Fifth Floor
                                                                                                          Washington, D.C. 20006-3817
                                                                                                          O: 202.973.8800
                                                                                                          F: 866.974.7329




                                                          February 17, 2023


  VIA CM/ECF

  The Honorable Valerie Figueredo
  United States Magistrate Judge
  Southern District of New York
  500 Pearl Street
  New York, New York 10007

         Re:           Bionpharma Inc. v. CoreRx, Inc., No. 1:21-cv-10656-JGK-VF

  Dear Judge Figueredo:

          We represent Azurity Pharmaceuticals, Inc. (“Azurity”) in the above-captioned action. We
  write in response to the Court’s February 14 Order (ECF No. 186) (the “Order”).

           The Order directed Bionpharma, Inc. (“Bion”) “to meet and confer with counsel for Azurity
  Pharmaceuticals to coordinate the deposition of Mr. Patel on the one common issue between the
  litigation in this Court and Bionpharma’s litigation with Azurity in Delaware – specifically, the
  lawsuit and settlement involving CoreRx.” Id. Furthermore, the Order directed the parties to
  inform the Court by today whether the parties had resolved the only outstanding issue – a time
  limit for the deposition. Id.

          Azurity proposed to Bion that the deposition be limited to 3 hours and 30 minutes, which
  is consistent with its prior proposal, Bion’s acknowledgment that the issues to be covered are
  limited, and the fact that party depositions in this litigation have also been relatively short. Azurity
  also proposed times to meet and confer yesterday and today. Bion refused to make any proposal
  regarding a time limit, and it did not agree to meet and confer. Despite having told Your Honor
  on Tuesday that it could revert with its position on a time limit by today, Bion now insists that –
  although it and its New York counsel already have the pertinent Azurity documents – its Delaware
  counsel need time to review the documents before even proposing a time limit or coordinating on
  logistics. See Exhibit A. Moreover, Bion appears to be attempting to re-litigate whether the
  deposition should be coordinated at all, stating “Bion’s Delaware counsel would need to receive
  and review those documents before they could determine if coordination is appropriate.” Id. at 3
  (emphasis added).

          Azurity is preparing the re-production to Bion of the documents for early next week, but
  that is beside the point. For months, Azurity has asked Bion to coordinate among its counsel to
  ensure a single deposition on the overlapping issues between the litigations, and Bion has refused
  to engage, even following this Court’s Order. Azurity respectfully requests that the Court again



         AUSTIN      BEIJING       BOSTON   BOULDER    BRUSSELS    HONG KONG    LONDON      LOS ANGELES   NEW YORK     PALO ALTO
                  SALT LAKE CITY     SAN DIEGO   SAN FRANCISCO    SEATTLE   SHANGHAI     WASHINGTON, DC    WILMINGTON, DE
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  Hon. Valerie Figueredo
  February 17, 2023
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  order Bionpharma to coordinate a single deposition on the overlapping issue identified in ECF
  No. 186, and issue an order limiting the deposition to 3 hours and 30 minutes.

                                                     Respectfully submitted,

                                                     WILSON SONSINI GOODRICH & ROSATI
                                                     Professional Corporation

                                                     s/ Jeffrey C. Bank
                                                     Jeffrey C. Bank

                                                     Counsel for Azurity Pharmaceuticals, Inc.




                                                                                             2-22-2023

                                           Consistent with the discussion at the conference on February 14, 2023
                                           and the order at ECF No. 186, Bionpharma is directed to coordinate
                                           with Azurity so that Mr. Patel is deposed once concerning the one
                                           common issue between the litigation here and in Delaware: the lawsuit
                                           between Bionpharma and CoreRX, and the settlement between Azurity
                                           and CoreRx. The parties should meet and confer to determine an
                                           appropriate time limit for the deposition.
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                   EXHIBIT 4
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK

           In re:                                        :
                                                           Docket #21cv10656
           BIONPHARMA INC.,                              : 1:21-cv-10656-VF

                                    Plaintiff,           :

              - against -                                :

           CORERX, INC.,                                 : New York, New York
                                                           February 14, 2023
                                    Defendant.           :

           ------------------------------------- :

                                     PROCEEDINGS BEFORE
                              THE HONORABLE VALERIE FIGUEREDO,
                               UNITED STATES MAGISTRATE JUDGE


           APPEARANCES:

           For Plaintiff:                 HOLLAND & KNIGHT LLP
                                          BY: CHARLES WEISS, ESQ.
                                          31 East 52nd Street
                                          New York, New York 10019

           For Defendants:                NORTON ROSE FULBRIGHT US LLP
                                          BY: MARK ROBERTSON, ESQ.
                                               MATTHEW NISS, ESQ.
                                          1301 Avenue of the Americas
                                          New York, New York 10019-6022

           For Intervenor Azurity         WILSON SONSINI GOODRICH & ROSATI
           Pharmaceuticals, Inc.:         BY: JEFFREY BANK, ESQ.
                                          1301 Avenue of the Americas, 40th Fl.
                                          New York, New York 10019


           Transcription Service:       Carole Ludwig, Transcription Services
                                        155 East Fourth Street #3C
                                        New York, New York 10009
                                        Phone: (212) 420-0771
                                        Email: Transcription420@aol.com

           Proceedings recorded by electronic sound recording;
           Transcript produced by transcription service.
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       2   served after the discovery cutoff, if he was served at

       3   all and, you know, on top of that I know the Second

       4   Circuit, I haven’t gotten to research this, but the

       5   Second Circuit I know disfavors outside counsel from

       6   being deposed, and so, you know, we would certa inly

       7   fight all of that.

       8                So to the extent that the Court is, you know,

       9   considering how to make a decision on this, I would, I

      10   would say that we would object to a basis of that being

      11   his, Mr. Khanna’s deposition, as we will fight that and

      12   fight it strongly.

      13                THE COURT:       I understand, I didn’t, I wasn’t,

      14   and I apologize if I meant this, it’s just that I was

      15   trying to get a sense of whether there was, and I think

      16   Mr. Weiss also indicated that there’s the potential for

      17   the Patel deposition, and I just wanted to get a sense

      18   of whether there was the opportunity, should there be

      19   any other depositions or other discovery taken that

      20   might potentially allow them to show that Davenport or

      21   Edwards have some knowledge, any knowledge.

      22                I think as may have become apparent f rom my

      23   questioning, I’m going to deny the request at the

      24   moment given what’s been put before me because I don’t

      25   believe that Bionpharma has shown that either Davenport
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       2   or Edwards would have any relevant knowledge, let alone

       3   unique knowledge with regard to the negotiations. But

       4   that being said, if either the deposition of someone

       5   else, Patel, Khanna or whoever, or if there’s other

       6   evidence uncovered that shows that they may potentially

       7   have some unique knowledge, then I would, I would not -

       8   - I would welcome, at least I wouldn’t, I’m open to

       9   having Bionpharma renew a motion.

      10                MR. ROBERTSON:         Judge, it’s Mark Robertson, I

      11   just want to clear up the record because you say you

      12   deny the request, I actually am making a request for a

      13   protective order, so I just want t o make sure --

      14                THE COURT:       Yes, my, that was my mistake. I’m

      15   going to grant Corerx’ motion for a protective order

      16   based on what’s been shown to me.                 Should Bionpharma be

      17   able to point to different information after subsequent

      18   depositions or any other disco very, Bionpharma can then

      19   file a motion to compel the depositions again.

      20                MR. WEISS:       Thank you, Your Honor --

      21                MR. ROBERTSON:         Thank you, Judge.

      22                MR. WEISS:       May I ask, if I could, Your Honor,

      23   it’s Charles Weiss, one additional thing.                    The service

      24   of a subpoena is obviously the beginning of a process.

      25   We have no question about Corerx filing a motion to
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       2   deposition of Mr. Patel in both litigations.                      And

       3   we’ve, and we’ve offered to work with them in terms of

       4   modifying whatever protective orders are necessary t o

       5   ensure that the transcript can be used in both cases.

       6                THE COURT:       And is the only common issue the

       7   question of a lawsuit against Corerx and the settlement

       8   with Corerx?

       9                MR. BANK: I believe so.            There are other

      10   issues relating to the antitrust counterclaim s such as

      11   alleged objective baselessness of the patent

      12   infringement suit against Bion. So Mr. Patel may need

      13   to be deposed again in the Delaware litigation on those

      14   issues and we’re not contesting that, we’re simply

      15   saying that on this set of issues, the Corerx

      16   litigation and settlement, which is common to both

      17   litigations, he ought to be deposed once.

      18                THE COURT:       Mr. Weiss, what bout potentially

      19   trying to come up with an agreement by which Azurity

      20   represents that it’s turned over in the Delaware action

      21   everything that you’ve requested that’s related to this

      22   common issue, the lawsuit against Corerx and the

      23   settlement with Corerx and then there’s a deposition on

      24   that common issue that would be used in both

      25   litigations?
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       2                            C E R T I F I C A T E

       3

       4                I, Carole Ludwig, certify tha t the foregoing

       5   transcript of proceedings in the United States District

       6   Court, Southern District of New Yo rk, Bionpharma Inc.

       7   versus Corerx, Inc. , Docket No. 21cv10656, was prepared

       8   using digital electronic transcription equipment and is

       9   a true and accurate record of the procee dings.

      10

      11

      12

      13

      14   Signature     ___________________
      15                        CAROLE LUDWIG

      16   Date:     February 20, 2023

      17

      18

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                   EXHIBIT 5
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 30 of 81 PageID #: 5605




From:                               Shannon, Luke T. <LShannon@taftlaw.com>
Sent:                               Wednesday, May 17, 2023 6:30 PM
To:                                 Poonai, Alexander; Kaufman, Granville; wsgr - Azurity/Bionpharma (505); MNAT Internal;
                                    Dellinger, Megan E.; Blumenfeld, Jack; Chard, Beth Ann
Cc:                                 Alul, Andrew M.; Shrestha, Roshan P.; Johnson, Aaron; Christopher Kelly; Jack Phillips;
                                    Megan Haney
Subject:                            RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies
Attachments:                        051723 Draft Joint Ltr. Requesting Discovery Dispute Telecon.DOCX



EXT - lshannon@taftlaw.com


Alex:

There are no mischaracterizations in my email from Monday. In response to your demand that Bionpharma withdraw its
deposition notices for Azurity’s board members, I expressly raised Azurity’s supplemental responses to Bionpharma’s
antitrust discovery requests, served on March 28, in which Azurity expressly stated that it was going to search for and
produce numerous categories of antitrust documents—this was an unmistakable reference to Azurity’s supplemental
responses to Bionpharma RFP Nos. 11-14, 20-24, 27-29, 44-47, 49-51, 53-58, 60, 63-66. I even expressly highlighted for
your attention at least three of those supplemental responses—Azurity’s supplemental responses to Bionpharma RFP
Nos. 21, 22, and 23—as examples of documents that Azurity has expressly stated that it will produce or search for and
produce, but has thus far refused to produce. In light of Azurity’s supplemental responses, I reiterated Bionpharma’s
position that Azurity’s demand for withdrawal of Bionpharma’s deposition notices was entirely premature. Even if
Azurity intends to switch course and produce the antitrust documents it expressly stated on March 28 that it would
produce at some point later on in fact discovery, the parties are at an impasse with respect to timing—if Azurity is
going to move for a protective order in connection with Bionpharma’s deposition notices, then Azurity must produce the
documents it promised it would produce on March 28 right now, and Bionpharma intends to bring Azurity’s refusal to
do so to the Court’s attention. We dispute any notation that this was not made clear to you during our phone call on
Monday (and in prior correspondence, see my May 2, 2023 email to you), and we intend on raising this with the Court—
as such, we have rejected your deletion of this dispute from the letter. Bionpharma has indisputably satisfied its meet
and confer obligations on this issue, but if you feel a quick phone call would provide you with any further clarity on this
issue, by all means, please call me right away. If I am unable to pick up, leave me a message.

We also disagree with your assertion that there is no dispute regarding the Annora invalidity/infringement
documents. Again, the parties are at an impasse on timing here , as Azurity has refused to commit to a date certain as to
when it will produce these documents. Azurity has been adamant about expediting discovery in these cases, and has
indicated that it will oppose any further extensions of the schedule. Thus, Biopharma needs these documents right
away so that it may start preparing for depositions. And we have already told you, Azurity already has Annora’s
permission to produce these documents. See Todd Werner’s September 22, 2022 email; October 11, 2022 email fro m R.
Shrestha. Moreover, as we have always maintained, third-party confidentiality is not a proper ground to refuse to
produce otherwise discoverable information. We addressed this issue with your team last September:

          Regarding infringement and invalidity documents served or filed in the related cases, the parties are
          simply at an impasse on this issue, as Azurity maintains that confidentiality concerns are a proper reason
          to withhold these documents from production. Bionpharma is not required to go out and seek consent
          from the parties in the related actions—Azurity must produce the documents, or we will secure an order
          from the Court compelling Azurity to do so. Given that Azurity will not produce these documents
          without an order, we intend to raise this issue with the Court.
                                                              1
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Sept. 21, 2022 Email from A. Johnson. As I clearly conveyed on our call and in prior correspondence, we are at an
impasse on the timing of this production. We have thus rejected your deletion of this dispute from the letter, and
intend to raise it with the Court.

We’ve also separated the disputes based on which party will be moving on them, and specified that each party will file
an opening letter on the disputes it is moving on, which will be followed by the other party’s response letter.

Please provide us with any further edits, although we ask that you refrain from deleting any of the disputes that
Bionpharma intends to raise with the Court—for the reasons expressed above, Bionpharma intends on moving on those
disputes. Again, Bionpharma believes that the parties have satisfied their meet and confer obligations with respect to
each of the disputes identified in the attached draft letter—to the extent you disagree, feel free to give me a call this
evening.

Best regards,
Luke

From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Wednesday, May 17, 2023 3:52 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

Your email egregiously mischaracterizes our meet and confer. It is categorically untrue that we discussed your new list of
thirty (30) RFPs during Monday’s conversation. In reality, Azurity opened the call by asking for Bionpharma’s response to
agenda item 1: “Deposition Notices.” (See Email from A. Poonai May 9, 2023 4:29 PM). We asked Bion to explain its
position that Azurity’s request that Bion withdraw its deposition notices is “entirely premature” given Azurity’s
representation that its document production is substantially complete. (Id. at 1.a.). You replied by saying, for the first
time, that Bionpharma had a list of RFPs for which it alleged Azurity’s document production is deficient, such that
Bionpharma could not decide whether to withdraw its deposition notices. You also stated that Bionpharma would
provide us with the list after the call, but agreed that we were at impasse on the issue of Bionpharma’s deposition
notices given Azurity’s representation that its document production is substantially complete. We did not, however,
reach impasse on Bionpharma’s new, unannounced list of supposed document production deficiencies. We have revised
your draft letter accordingly.

We have also edited the letter to remove the bullet regarding the supposed dispute over documents from the Annora
Litigation. As we explained during the call, we have represented that we will produce the documents in question as soon
as Annora provides their consent. We have asked them. They have yet to respond. Bionpharma argued that Azurity
already has Annora’s consent, citing an email from over a year ago that discusses entirely different documents. This legal
conclusion is incorrect, and Azurity will not assume the risk of violating any applicable protective orders on
Bionpharma’s mere say so. Has Bionpharma contacted Annora and asked them to offer their consent? If not, why not?
Furthermore, Azurity repeats that it will produce expert reports from the Annora Litigation once expert discovery closes
(which is occurring soon) and after Annora consents to production of the documents. Thus, there is no dispute to take to
the Court. If you disagree, please explain what is in dispute.

                                                            2
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We confirm impasse on Azurity’s requests regarding the related New York Action. We have included that issue in the
draft letter, attached. We note, however, that your email continues to mischaracterize our meeting. While you did ask
us to “identify specific items from the SDNY action that [we] believe Azurity is entitled to, “I did not “decline[]” to do so.
In fact, I specified, as our RFPs unambiguously state, Azurity seeks all deposition transcripts, hearing transcripts, expert
reports and exhibits from the related New York Action. I even offered two specific examples: the deposition transcripts
of AmerisourceBergen Corporation and Mr. Rajiv Khanna. In response, Bion noted that certain motions to seal might not
be relevant, but did not argue that any of the other materials we identified were irrelevant, or that they were “publicly
available on the docket” of the related New York Action.

Finally, as you requested during the meet and confer, Azurity will be producing additional org chart documents. As a
result of your request, Azurity is now aiming to make a production by the end of this week.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Monday, May 15, 2023 8:35 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex:

Please see the attached joint letter requesting a discovery dispute teleconference. This is essentially the same letter I
sent you last Wednesday but has been revised to include an additional dispute for court resolution based on our meet
and confer today: Azurity’s refusal to produce documents responsive to Bionpharma RFP Nos. 11-14, 20-24, 27-29, 44-
47, 49-51, 53-58, 60, 63-66, despite previously agreeing to search for and produce documents responsive to those RFPs,
and, relatedly, Azurity’s dubious insistence that its antitrust document production is “substantially complete.” We’d like
to get this letter on file by no later than COB this Thursday. Please provide us any Azurity edits as soon as possible.

Furthermore, I write to address a few additional items from our meet and confer today. First, regarding Azurity’s
demand that Bionpharma produce from the SDNY action against CoreRx (“the SDNY action”) all dep transcripts, hearing
transcripts, and other materials that Bionpharma believes are relevant, we reject your demand. We have agreed to
produce certain documents that Bionpharma produced to CoreRx in the SDNY action, as well as the Krishnan declaration
and attachments thereto. Many pleadings and filings from the SDNY action are publicly available on the docket of that
case, and Azurity is free to retrieve those pleadings and filings. But Bionpharma maintains that Azurity’s demand for
a production of everything from the SDNY action is entirely too broad and disproportional to the needs of the Delaware
Third Wave Suits, and Bionpharma stands by that objection as well as its relevancy objections. Furthermore, we note
that there is a protective order entered in the SDNY action, and many documents and transcripts from that action have
been marked confidential by CoreRx; thus, Azurity’s wholesale demand for all documents exchanged or filed in the SDNY
action is additionally objectionable because many of the documents implicate third-party confidentiality
concerns. During today’s call, as a practical attempt to resolve this dispute, I invited you to identify specific items from
the SDNY action that you believe Azurity is entitled to, and we would consider that kind of specific request in an effort to
avoid burdening the Court; you declined to identify any such items. Bionpharma believes the parties are at an impasse
                                                              3
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with respect Azurity RFP Nos. RFP Nos. 121, 122, 123, and 129 (with respect to Azurity RFP No. 129, as you should know,
Bionpharma is producing documents and communications between Bionpharma and CoreRx pertaining to the 2020
MMSA).

Second, regarding “documents from third parties,” we reiterate our position that the parties are at an impasse on this,
and your attention is directed to my email from last Tuesday for our reasons. The same with respect to documents
regarding “delisting from Bionpharma’s website” and the SDNY Krishnan declarations—Bionpharma will not produce any
further documents beyond what it has already produced for the reasons expressed in my email from last Tuesday; to the
extent Azurity seeks anything else in connection with these categories of documents, the parties are at an impasse.

We look forward to receiving Azurity’s edits to the attached draft letter as soon as possible.

Best regards,
Luke



From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Thursday, May 11, 2023 2:20 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Alex,

I’m sorry to learn that you no longer have availability today. Regardless, we are available Monday, May 15, at 12:30 pm
CT / 1:30 pm ET and will plan to speak with you then.

For the call, we can use the same dial in:

Join Zoom Meeting
https://taftlaw.zoom.us/j/3161014543

Meeting ID: 316 101 4543
One tap mobile
+13126266799,,3161014543# US (Chicago)
+13092053325,,3161014543# US

Dial by your location
     +1 312 626 6799 US (Chicago)
     +1 309 205 3325 US

Best regards,
Luke

From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Thursday, May 11, 2023 9:01 AM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
                                                             4
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 34 of 81 PageID #: 5609
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

We did not receive a response to our offer until we received your email last night, after close of business. We now have
a conflict at this time, but are available to meet Monday after 1:30 PM ET.

With respect to item number 8 in our May 9 email, we can now represent that Azurity is not in possession of
organizational charts for QHP and CoreRx or documents sufficient to show Azurity’s relationship with CoreRx and
CoreRx’s relationship with QHP. We were able to locate Azurity organizational charts, however, and will produce them
early next week.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Wednesday, May 10, 2023 7:32 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex:

Suffice it to say, Bionpharma disagrees with much of your email correspondence from yesterday, and we look to
correcting your numerous inaccuracies and mischaracterizations during our call tomorrow at 4 PM EDT. To facilitate
that call, please see the attached joint discovery dispute teleconference request letter. Please use the following dial-in
information:

Join Zoom Meeting
https://taftlaw.zoom.us/j/3161014543

Meeting ID: 316 101 4543
One tap mobile
+13126266799,,3161014543# US (Chicago)
+13092053325,,3161014543# US

Dial by your location
     +1 312 626 6799 US (Chicago)
                                                             5
     Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 35 of 81 PageID #: 5610
    +1 309 205 3325 US

Best regards,
Luke



From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Tuesday, May 9, 2023 4:29 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

Azurity responds to your email below. We are available to meet and confer Thursday at 4 PM ET.

    1. Deposition Notices
           a. Azurity’s document production is substantially complete. We thus disagree with Bionpharma’s position
                that our requests to withdraw the deposition notices are “entirely premature.” We are at an impasse.
    2. SDNY docs
           a. Bionpharma’s May 2 production contained only the Krishnan declarations and exhibits. As you know,
                these documents have been publicly available in redacted form for over a year. See Bionpharma Inc. v.
                CoreRx, Inc. 1:21-cv-10656-JGK-VF (S.D.N.Y.) at ECF Nos. 10 at 41.
           b. Bionpharma has produced no documents responsive to any of the RFPs listed in Agenda Item 3 (i.e., RFP
                Nos. 121, 122, 123, and 129). These requests unambiguously seek transcripts, expert reports, and
                internal documents.
           c. You state that Bionpharma “has been producing documents from the SDNY action.” This small
                production of publicly available documents does nothing to address the concerns raised during our
                previous meet and confers. Is your production substantially complete? If so, please confirm because
                then it is clear that the parties are at an impasse. If not, identify the date certain in the very near future
                by which Bionpharma’s production will be substantially complete.
    3. Docs from third parties
           a. As discussed on the M&C, our primary goal in raising this was to confirm that Bionpharma had not
                received any materials via Rule 45 subpoenas. We understand Bionpharma’s representation that it has
                not received any such materials and as such, we will hold this request in abeyance for now.
    4. Docs re: ANDA suppliers
           a. We have not been able to locate these documents. Please identify their Bates range in your production.
    5. De-list product from website
           a. We agree that the parties are at impasse on this issue.
    6. Krishnan declaration
           a. As explained above, Bion’s production of publicly available documents does not “end[] any dispute” over
                RFP Nos. 69 and 70. Bionpharma produced only the Krishnan declarations and exhibits, not “documents
                and communications related to” the declaration. If Bionpharma continues to refuse to make any such
                production, Azurity will approach the Court for relief.
    7. Patent Depositions
           a. Azurity stands on the responses set forth in our April 28 email, below.
    8. Org structure
                                                              6
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 36 of 81 PageID #: 5611
            a. We are checking with our client to identify “any organizational charts for itself available for production.”
                 In addition, we understand that Azurity is not in possession of either (1) organizational charts for QHP
                 and CoreRx; or (2) documents sufficient to show Azurity’s relationship with CoreRx and CoreRx’s
                 relationship with QHP. Azurity and CoreRx are each portfolio companies of QHP, and there is no
                 corporate relationship between them. We are confirming that our client is not in possession of these
                 documents and will revert when we hear back.
            b. We are disappointed that Bionpharma continues to take Azurity’s November 1, 2022 email out of
                 context. Azurity stated it would produce documents on a “sufficient to show” basis. We did not
                 represent whether responsive documents existed as to each and every possible interpretation of
                 Bionpharma’s broad request. Azurity has been doing its diligence and searching for responsive materials
                 since before Bionpharma’s discovery stay, and continues to do so as Bionpharma specifies its requests
                 through the meet and confer process.
    9. Annora Docs
            a. To the extent Bionpharma seeks expert reports, expert discovery is ongoing and Azurity stands on its
                 earlier responses. Once expert discovery has concluded, Azurity will determine Annora’s position on
                 Bionpharma’s request. To the extent Bionpharma is now seeking discovery responses, please confirm. If
                 Bionpharma is now seeking discovery responses, Azurity is willing to produce those documents as
                 discovery is now closed, so long as Annora consents. We will ask Annora for its position.
    10. Paragraph 3
            a. We have already explained our view that none of our Board members have responsive or relevant
                 materials. We further direct you to the decisions in the related New York Action, along with
                 Bionpharma’s concessions on the record as to at least certain members of Azurity’s board of directors.
                 See, e.g., Bionpharma Inc. v. CoreRx, Inc. 1:21-cv-10656-JGK-VF (S.D.N.Y.) ECF Nos. 186 and 192. We
                 confirm impasse.
    11. Privilege Logs
            a. Azurity is willing to commit to a mutual exchange of privilege logs for documents from the Third Suit
                 produced through March 2023.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Monday, May 8, 2023 12:08 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex:

Further to my email from last Tuesday, we write to follow up on the other addenda items from the April 27 meet and
confer, and a few additional matters.

          Azurity’s request for Bionpharma to withdraw the Blackburn deposition notice (Agenda Item No. 2):

                                                             7
Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 37 of 81 PageID #: 5612
  For the same reasons set forth in my email from Tuesday, we believe that Azurity’s request for Bionpharma to
  withdraw the Blackburn deposition notice is entirely premature, including because Azurity has yet to
  substantially complete its document production. Thus, we will not withdraw the Blackburn deposition notice at
  this point, but will hold it in abeyance pending substantial completion of Azurity’s antitrust document
  production.

  Azurity’s request for documents from the SDNY case (Agenda Item No. 3):

  As you should know, Bionpharma has been producing documents from the SDNY action, including documents
  Bionpharma produced in the SDNY action concerning its efforts to secure a new supplier, and including the
  Krishnan declarations filed in the SDNY action and documents pertaining to same. We anticipate producing
  additional documents from the SDNY case, including documents pertaining to the MMSA; however, we maintain
  our overbreadth and relevancy objections to Azurity’s requests concerning documents from the SDNY
  case. Specifically, it appears that Azurity seeks production of everything exchanged and filed in the SDNY action
  (see, e.g., May 8, 2023 Ltr. from J. Bank to L. Shannon)—Bionpharma believes this is entirely too broad and
  captures documents that have no or very little relevance to the instant Third Wave Suits. As such, we suggest
  that Azurity continue to review Bionpharma’s production and, to the extent it believes there is something
  specific from the SDNY action that is missing from Bionpharma’s production that it believes should be produced,
  we can revisit this agenda item then.

  Documents from other parties produced in the Third Wave Suits (Agenda Item No. 4):

  Bionpharma is not presently aware of any documents responsive to Azurity’s RFP No. 105 in its possession,
  custody, or control. Bionpharma maintains that Azurity RFP No. 105 is entirely overbroad, as its limits are nearly
  impossible to delineate. Would a voicemail from a media reporter inquiring about the Third Wave Suits fall
  within the scope of Azurity RFP No. 105? An invoice from an e-discovery vendor that Bionpharma utilizes in
  connection with these Third Wave Suits? Bionpharma will stand on it overbreadth and relevancy objections to
  Azurity’s RFP No. 105. This is our final pronouncement on this issue—if Azurity decides to move to compel, we
  will not dispute that the parties are at an impasse and have satisfied their meet and confer obligations.

  Documents relating to orders from Bionpharma’s ANDA product suppliers (Agenda Item No. 5):

  Please check Bionpharma’s production, as we believe such documents have been produced or are in the process
  of being produced.

  Documents pertaining to Bionpharma’s alleged “decision to list or de-list information relating to the ANDA
  product on its website” (Agenda Item No. 6):

  We continue to fail to see how any documents responsive to Azurity’s RFP Nos. 62 and 63—to the extent they
  even exist—have any relevance to the claims and defenses in these cases. Moreover, any documents responsive
  Azurity RFP Nos. 62 and 63 would most likely be privileged, as any decision to list (or de-list) information on a
  website regarding a product that is in the midst of litigation would most certainly implicate attorney-client
  privileged communications. We are thus at an impasse, and Azurity is free to move on the RFPs underlying this
  item.

  Documents concerning the Krishnan declaration (Agenda Item No. 7):

  Please see our production from last Tuesday, as well as our production from our First Wave Suits (e.g.,
  Bionpharma’s ANDA). We trust that this ends any dispute over Azurity RFP Nos. 69, 70.

  Azurity’s refusal to proceed with patent depositions (Agenda Item No. 8):


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     Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 38 of 81 PageID #: 5613
        Azurity has come forward with no legitimate basis to refuse to proceed with the Paniker, Punji, and Murthy
        depositions. Again, we are chronicling all of Azurity’s delays and intend on presenting them to the Court at the
        appropriate time.

        Documents sufficient to show: the organizational structure of Azurity, NovaQuest, and CoreRx; the ownership
        of and corporate relationships between NovaQuest and CoreRx; and the corporate relationship between
        Azurity and CoreRx (Agenda Item No. 9):

        The documents you point to in response to in response to Azurity’s November 11, 2022 commitment to produce
        this information at best show the ownership of Azurity and its relationship to QHP (NovaQuest). You have failed
        to produce organizational charts for Azurity, CoreRx, and QHP. We find it hard to believe that Azurity does not
        have organizational charts for itself available for production—please confirm that Azurity has such charts but is
        refusing to produce them. With respect to organizational charts for QHP and CoreRx, and documents sufficient
        to show Azurity’s relationship with CoreRx and CoreRx’s relationship with QHP, please confirm whether Azurity
        has these documents but is refusing to produce them, or simply does not have these documents (despite its
        November 11, 2022 representation to the contrary).

        Azurity’s refusal to timely supplement its production with invalidity/infringement documents recently
        served/produced/filed in related litigation (Agenda Item No. 12):

        Rule 26(e) requires timely supplementation, and Azurity has refused to commit to a reasonable time frame as to
        when it will produce these documents. Given that Azurity’s past positions on scheduling and extensions,
        Bionpharma will simply not wait until the final few weeks of the current fact discovery schedule to receive these
        documents. Moreover, Bionpharma needs these documents now to prepare for fact depositions and to prepare
        expert reports. In the case of recent responsive documents from the Annora case, Azurity has these documents
        handy and can easily produce them at a moment’s notice, but for some reason is refusing to do so, and that is
        insufficient. The parties are therefore at an impasse, and we will circulate a draft letter requesting a discovery
        dispute teleconference on this item for your review shortly. Finally, Azurity’s third party confidentiality
        concerns—even if they were legally legitimate—are a red herring, as Bionpharma and Annora have reciprocally
        agreed to Azurity’s production of their invalidity/infringement documents to the other party, under the
        conditions outlined in Todd Werner’s September 22, 2022 email (see also October 11, 2022 email from R.
        Shrestha).

                                                    *        *       *

Additionally, we are in receipt of Azurity’s Supplemental Delaware Default Rule 3 initial disclosures from last Friday, and
they appear deficient to us as none of Azurity’s board members are identified as custodians, despite the fact that certain
of Azurity’s board members are identified and implicated in Bionpharma’s antitrust counterclaims, including in
connection with Bionpharma’s allegations concerning the sham CoreRx suits. Why is this? We would like to meet and
confer on this issue and Azurity’s delinquent antitrust production (as outlined in my email from last Tuesday afternoon)
this week.

Finally, we propose that the parties exchange privilege logs for documents produced through March 2023 and agree to
timely supplement those logs with any privileged documents produced thereafter. Please let us know if Azurity will
agree to this proposal and is in a position to make such an exchange by Friday, May 12, 2023.

We are generally available tomorrow afternoon and Wednesday for a meet and confer. Please provide us with your
availability and we will circulate a dial-in.

Best regards,
Luke


                                                             9
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 39 of 81 PageID #: 5614


From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Tuesday, May 2, 2023 1:18 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Alex:

Bionpharma will agree to hold in abeyance its depositions notices, but only because Azurity has yet to substantially
complete its antitrust document production and to supplement its Delaware Default Rule 3 initial disclosures. As you
well know, shortly after the stay was lifted in these cases on February 7, we wrote to you demanding that Azurity
supplement, inter alia, its responses to Bionpharma’s antitrust discovery requests (which were served back in March of
2022) and its initial disclosures. See Feb. 21, 2023 Ltr. from L. Shannon to G. Kaufman. Despite repeated follow up
requests for Azurity to move forward with its antitrust discovery obligations, it was not until March 28, 2023 that Azurity
finally supplemented its responses to Bionpharma’s antitrust requests for production, where it stated that it would
produce, or will search for and produce, numerous categories of antitrust documents. See generally Azurity’s
Supplemental Objections and Resps. to Bionpharma’s First Set of Requests for Production of Documents and Things. We
still have yet to receive this antitrust document production that Azurity has promised in its supplemental responses—
where is it? We remain deeply concerned that Azurity has yet to produce these documents given its repeated
representation to the Court that fact discovery in these cases could be closed by May 5, 2023—this Friday. See, e.g., 21-
1286 D.I. 264, JSS at 1-5. And, of course, we have yet to even receive Azurity’s supplemental Delaware Default Rule 3
initial disclosures identifying custodians whose ESI Azurity will be searching through. All of these delinquencies—with
just 3 days left in the fact discovery schedule Azurity emphatically advocated for in February—confirms what we knew
all along during the parties’ scheduling dispute in February: that Azurity was misrepresenting to the Court its ability to
carry out its discovery obligations and close out fact discovery in these cases by May 5. Again, rest assured, we are
chronicling all of this to present to the Court, including in connection with remedies phase of these cases and our
requests for fees and costs.

For the same reasons, Azurity’s request that Bionpharma withdraw its Rule 30(b)(1) deposition notices for Azurity’s
board members under the apex doctrine is entirely premature, as we cannot adequately assess Azurity’s position
without first seeing its belated antitrust document production (as well as its belated supplemental Delaware Default
Rule 3 initial disclosures).

Thus, while Bionpharma will agree to hold its depositions notices in abeyance until, inter alia, Azurity substantially
completes its antitrust document production, Bionpharma will not withdraw those notices, and disputes that they are in
any way improper.

We will be responding in writing to the other points raised in your April 28 th email shortly.

Best regards,
Luke



From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Tuesday, May 2, 2023 9:48 AM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
                                                              10
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 40 of 81 PageID #: 5615
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

We understand that Bionpharma is cancelling today’s meet and confer. The first of Bionpharma’s 30(b)(1) depositions is
noticed for next Tuesday, May 9, but Bionpharma has not responded to our request that you withdraw these
notices. We can reschedule the call on other issues for later this week—we are available Thursday at 2 PM ET or Friday
at 1 PM ET. But given the timing, we need an answer tomorrow on the 30(b)(1) notices. If Bionpharma does not agree to
withdraw them or at least hold them in abeyance while discussions remain pending, we will circulate a draft joint
discovery dispute letter on our motion for a protective order.

Additionally, we had planned to discuss two additional items on today’s call. First, as Azurity is continuing to review
Bionpharma’s Friday April 21 production of 16,000 documents, we can now confirm that Azurity also asks Bionpharma to
withdraw its subpoenas to Vern Davenport and Jeff Edwards, citing at least the same arguments we articulated in
writing and during the call. Second, as Bionpharma no doubt knows given its silence on the subject, Azurity will not be
putting up a 30(b)(6) witness on the May 5 date in Bionpharma’s notice. We will serve responses and objections shortly
and can be available to meet and confer regarding scope, witnesses, and dates next week.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Monday, May 1, 2023 11:06 AM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex:

We are no longer available to meet and confer tomorrow, as we’re still looking into several items that were discussed
during our call last week. We’ll get back to you later this week with our availability for a meet and confer.

Best regards,
Luke

From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Friday, April 28, 2023 10:00 AM

                                                           11
     Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 41 of 81 PageID #: 5616
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

Thanks again for meeting with us yesterday.

Agenda
We discussed each item on the agenda in turn.

    1. Whether Bionpharma will withdraw its 30(b)(1) deposition notices to Azurity board members Nailesh Bhatt,
        Frank Leo, and Dave Ritchie;
    2. Whether Bionpharma will withdraw its 30(b)(1) deposition notice to Azurity’s CEO Richard Blackburn;
    3. Bionpharma’s refusal to produce documents from the SDNY case (RFP Nos. 121, 122, 123, and 129);
    4. Bionpharma’s refusal to produce documents received from third parties (RFP No. 105);
    5. Bionpharma’s refusal to produce documents relating to orders from Bionpharma’s supplier (RFP Nos. 59, 60)
    6. Bionpharma’s refusal to produce documents relating to Bionpharma’s decision to list or de-list information
        relating to the ANDA product on its website (RFP Nos. 62, 63)
    7. Bionpharma’s refusal to produce documents concerning the Krishnan Declaration (RFP Nos. 69, 70)
    8. Azurity’s refusal to proceed with the Paniker, Punji, and Murthy depositions in May
    9. Azurity’s refusal to honor its November 1, 2022 commitment to produce documents sufficient to show: the
        organizational structure of Azurity, NovaQuest, and CoreRx; the ownership of and corporate relationships
        between NovaQuest and CoreRx; and the corporate relationship between Azurity and CoreRx
    10. Azurity’s refusal to exchange supplemental damages interrogatory responses prior to May 11
    11. Azurity’s refusal to serve its supplemental its Delaware Default Rule 3 disclosures prior to May 5
    12. Azurity’s refusal to timely supplement its production with invalidity/infringement documents recently
        served/produced/filed in related litigation

Azurity’s Topics
You stated you would have to take agenda items 1-4 and 6-7 back to your team for discussion. We agreed to meet again
on Tuesday at 3 PM ET / 2PM CT. Please let me know if you did not receive the meeting invite I sent. For agenda item
number 5, we explained that we have identified some potentially relevant documents in Bionpharma’s Friday May 21
production. Please advise on our next call if Bionpharma has changed its prior refusal to produce documents in
response to RFP Nos. 59 and 60.

Bionpharma’s Topics
Next, we discussed the depositions Bionpharma scheduled for May. We explained that, while Azurity will take these
depositions at the appropriate time, it is still working through Bionpharma’s May 21 production of 16,000 documents
(60,000 pages) and needs time to prepare for the depositions. Bionpharma stated its view that the production contains a
“manageable” amount of documents to review in the intervening time. Azurity disagreed, noting, e.g., that
Bionpharma’s EVP Supply Chain & Projects, Mr. Phanindranath Punji’s name appears in over 6,000 documents in this set.
Azurity stated it will inform Bionpharma when it has completed its review of the recently produced documents and is
able to take the depositions in question. For agenda item number 9, Azurity confirmed that it believes it has satisfied its
obligation on a sufficient to show basis and confirmed impasse. Azurity also confirmed that, with respect to agenda
items numbers 10 and 11, Azurity will supplement at the dates we have noted. Azurity explained that it is not beholden
to Bionpharma’s unilaterally imposed deadlines. Bionpharma asked Azurity to explain its reasoning for the dates it set.

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Azurity explained that that reasoning is privileged. Finally, for agenda item 12, we re-affirmed our position as set forth in
previous correspondence. Specifically, we stated that initial opening expert reports were served less than two weeks ago
and that expert discovery is ongoing. Bionpharma stated that their request encompasses other materials including all
interrogatory responses and contentions served this year. Azurity replied that Bionpharma raised this issue around one
week prior to our meeting, and so we reject any characterization of our response as untimely. Azurity agreed to take
agenda item 12 back for further discussion.

We look forward to continuing our conversation on Tuesday. We will follow up in advance with our agenda items (which
will include 1-4 and 6-7 above). Please provide us with any topics Bionpharma wishes to discuss. Hope you and your
team enjoy the weekend.

Best,
Alex

From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Thursday, April 27, 2023 12:20 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

We disagree with the vast majority of your email, needless to say, which largely repeats prior emails. Thus, we address
only new points.

We understand that Bionpharma will not make the representations Azurity requested regarding Bionpharma’s
production. Accordingly, as we stated previously, because Azurity is still in the process of reviewing the 60,000 pages of
documents Bionpharma produced less than a week ago, our position remains unchanged.

We have already “explain[ed] in writing why Azurity has proposed its agenda items” in the email you received yesterday.
We note, however, that Azurity is under no obligation to provide lengthy, detailed arguments for each of its positions in
advance of the meet and confer, and that it is in fact the purpose of the meet and confer process that parties make “a
reasonable effort [] to reach agreement” through good faith dialogue. Del. L.R. 7.1.1.

Thank you in advance for attending the call today. We disagree that the meeting will be “of very little value.” We will
speak then.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Thursday, April 27, 2023 9:40 AM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
                                                             13
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 43 of 81 PageID #: 5618
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex,

Your email advances no rational justification for why Azurity cannot proceed with the Paniker, Punji, and Murthy
depositions in May. Bionpharma has already represented that much of the production it made last week pertains to its
efforts to secure a new supplier. Moreover, the document requests you identify below pertain to damages and antitrust
issues. You fail to explain how two individuals in Bionpharma’s regulatory affairs department (Paniker, Murthy) could
have discoverable testimony concerning those issues. Mr. Punji deals with manufacturing and supply chain issues. At
best, these witnesses might have discoverable information concerning the patent issues in these cases. Azurity should
know all of this—it was Azurity, after all, who noticed up these depositions, and presumably had a reason to do so. And
Azurity has repeatedly represented to the Court that patent discovery is substantially complete. Azurity’s refusal to
proceed with these depositions under the dubious excuse that it still needs damages and antitrust production from
Bionpharma appears to be yet another stall tactic. Rest assured, we are chronicling all of Azurity’s delay tactics, and
they will be presented to the Court in connection with a schedule extension request should an extension be
needed. Your repeated mischaracterization of an order on a scheduling dispute that Azurity lost on cannot change the
facts regarding Azurity’s dilatory conduct.

Next, your email contains new information from Azurity and Azurity’s supposed justifications for the positions it has
taken. The fact that we received your email after close of business the evening before our scheduled meet-and-confer
has foreclosed our ability to consider Azurity’s position on, for example, Bionpharma’s deposition notices and Azurity’s
demand for production from the Bionpharma v. CoreRx suit, and to, if necessary, consult with our client prior to our
call. This was the predictable result of your failure to convey your positions and rationales promptly, as we’ve
repeatedly requested from you. As such, it is likely that our meet and confer today will be of very little value, as we
simply will not have answers for you on many of Azurity’s agenda items. Nevertheless, we will attend the call and hear
you out, but we will need to take your positions back to our team and, if necessary, our client, before we can provide
you with Bionpharma’s positions on Azurity’s agenda items. We suggest a more efficient approach would be to
reschedule the call until a date after you explain in writing why Azurity has proposed its agenda items, and why it
believes that the discovery it seeks in connection with those discovery items is, in fact, discoverable.

Best regards,
Luke



From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Wednesday, April 26, 2023 5:33 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

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Thank you for your additions to the agenda. In this writing, we respond to both your April 25 5:38 PM ET email and your
April 26 1:45 PM ET email.

Shannon Email, April 25

    1. Bionpharma produced over 60,000 pages of documents last Friday, April 21. Understandably, Azurity has not
       had time to review these documents in full. Will Bionpharma represent what is in the production? Will
       Bionpharma represent for which RFPs Bionpharma’s production is substantially complete? Has Bionpharma, e.g.,
       produced documents responsive to RFP Nos. 33-35, 59-60, 80, or other damages and ANI/Novitium related
       requests? If so, Azurity will consider whether it has the requisite documents to proceed with the three
       depositions. Absent such representations, Bionpharma’s discovery gamesmanship is self-evident.
    2. The record shows, and the Court has recognized, that Bionpharma is the party that is delaying discovery, not
       Azurity. D.I. 293 at ¶ 30. Azurity will not endlessly relitigate this issue with Bionpharma.
    3. Azurity will supplement by May 11. Azurity is under no obligation to abide by Bionpharma’s arbitrary and
       unilateral deadlines.
    4. Bionpharma’s “impression that Azurity is reneging on its commitment” is incorrect. SLVGT-EPA_0122018 and
       SLVGT-EPA_0122946 satisfy Azurity’s stated commitment on a sufficient to show basis.
    5. Bionpharma refused to even discuss confidentiality designations with Azurity. Azurity, in the interest of
       cooperation and civility, agreed to re-produce the seven outstanding documents in this case and has since done
       so. Please confirm receipt. This item is, accordingly, moot.
    6. We will be prepared to discuss tomorrow. Briefing in the Annora case is ongoing. Furthermore, the productions
       in that case contain Annora confidential information, so we cannot commit to producing unredacted copies by
       any certain date absent Annora’s consent.
    7. Azurity stands on its previous representation and again asks Bionpharma to detail the supposed deficiencies in
       Azurity’s production.
    8. We listed specific RFPs for discussion in my 4/25 email at 5:47 PM ET, which came minutes after your email.

Shannon Email, April 26

    1. Azurity believes that Bionpharma should withdraw its notices for the Bhatt, Leo, and Ritchie depositions at least
       because they are apex witnesses. Azurity has already represented that Amit Patel, current Executive Chairman
       and former CEO of Azurity, will sit for a deposition in this case. Even if Bhatt, Leo, and Ritchie were to possess
       any relevant information (and we have no reason to believe that they do), Mr. Patel is better situated to provide
       such information. Richard Blackburn is also an apex witness. As he was appointed CEO of Azurity on February 14,
       2022 – three days before Bionpharma filed its antitrust counterclaims – he cannot and does not have any first-
       hand knowledge of any relevant information. And, even if he did, Mr. Patel is better situated to provide such
       information.
    2. It is our understanding that Mr. Jim Gale is being represented independently by your co-counsel at Holland &
       Knight. Please let us know if that is no longer true and if we should be discussing his Rule 45 subpoena with Taft.
    3. Without conceding any obligation to do so, Azurity notes that it has raised many of these issues in the Kaufman
       Letter dated March 7, 2023 and the Poonai Letters dated March 10 and February 27. To be clear, however,
       Azurity does not assert “that Bionpharma’s objections and responses to the document requests referenced in
       item numbers 3-7 are deficient.” Instead, we note that Bionpharma conclusively states that it “will not produce
       documents and things responsive” to many of Azurity’s RFPs. We seek to understand Bionpharma’s positions
       and its bases for refusing to produce documents.
    4. For example, with respect to agenda item 3, Bionpharma has refused to produce while objecting for relevance,
       under the protective order in the New York Action, and because it alleges that the documents are already in
       Azurity’s possession, custody, or control. These documents are clearly relevant at least because of Bionpharma’s
       allegation that it has a license to Azurity’s patents under the MMSA and its allegation that Azurity directed
       CoreRx to renegotiate the MMSA. In addition, Magistrate Judge Figueredo has recognized the overlap between
       the cases. Azurity is not aware of any bars to it receiving this discovery under the protective order in the New


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          York Action. And, as we have stated numerous times, Azurity is not CoreRx’s “corporate sister” and so is not in
          possession of these documents.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Wednesday, April 26, 2023 1:45 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr - Azurity/Bionpharma
(505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E.
<mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex,

Thank you for your proposed agenda. We note that a number of items you have proposed for discussion have never
heretofore been raised with Bionpharma, which leaves us with little ability to prepare for a meaningful discussion on
those particular items. For example, Azurity has never previously approached Bionpharma with a request to withdraw
its deposition notices to Messrs. Bhatt, Leo, Ritchie, and Blackburn, and has never explained why it believes those
notices are improper and/or should be withdrawn (particularly in light of the fact that Azurity has itself noticed up,
and/or issued subpoenas for, the deposition Bionpharma board members, see, e.g., 11/2/22 Atherton email enclosing
Gale, Goodman subpoenas). Similarly, we have not received any discovery correspondence from Azurity explaining why
Azurity believes that Bionpharma’s objections and responses to the document requests referenced in item numbers 3-7
are deficient. Again, without a more detailed explanation from Azurity as to these items prior to any meet and confer,
we will have very limited ability to address Azurity’s concerns in connection with these items in an efficient manner.

The items Bionpharma intends to raise on Thursday’s meet and confer—which, in contrast to Azurity’s proposed items
for discussion, Bionpharma has previously raised with Azurity—and that Azurity should be prepared to discuss, are as
follows:

          8. Azurity’s refusal to proceed with the Paniker, Punji, and Murthy depositions in May
          9. Azurity’s refusal to honor its November 1, 2022 commitment to produce documents sufficient to show: the
          organizational structure of Azurity, NovaQuest, and CoreRx; the ownership of and corporate relationships
          between NovaQuest and CoreRx; and the corporate relationship between Azurity and CoreRx
          9. Azurity’s refusal to exchange supplemental damages interrogatory responses prior to May 11
          10. Azurity’s refusal to serve its supplemental its Delaware Default Rule 3 disclosures prior to May 5
          11. Azurity’s refusal to timely supplement its production with invalidity/infringement documents recently
          served/produced/filed in related litigation

Best regards,
Luke



From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Tuesday, April 25, 2023 4:47 PM
                                                             16
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 46 of 81 PageID #: 5621
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; wsgr -
Azurity/Bionpharma (505) <Azuritybionpharma505@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>;
Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard,
Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

We will follow up with a more complete reply to your below email. Please see the below agenda for Thursday’s meet
and confer. In advance of the call, please add the specific agenda items Bion would like to discuss.

    1. Whether Bionpharma will withdraw its 30(b)(1) deposition notices to Azurity board members Nailesh Bhatt,
       Frank Leo, and Dave Ritchie;
    2. Whether Bionpharma will withdraw its 30(b)(1) deposition notice to Azurity’s CEO Richard Blackburn;
    3. Bionpharma’s refusal to produce documents from the SDNY case (RFP Nos. 121, 122, 123, and 129);
    4. Bionpharma’s refusal to produce documents received from third parties (RFP No. 105);
    5. Bionpharma’s refusal to produce documents relating to orders from Bionpharma’s supplier (RFP Nos. 59, 60)
    6. Bionpharma’s refusal to produce documents relating to Bionpharma’s decision to list or de-list information
       relating to the ANDA product on its website (RFP Nos. 62, 63)
    7. Bionpharma’s refusal to produce documents concerning the Krishnan Declaration (RFP Nos. 69, 70)
    8. [Placeholder for Bionpharma additions]

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Tuesday, April 25, 2023 5:38 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex,

We are confused by your refusal to proceed with the Paniker, Punji, and Murthy depositions on the dates we have
provided in May. Two of these witnesses (Paniker and Murthy) are in the regulatory affairs department at Bionpharma,
Nath Punji is the EVP – Manufacturing, Supply Chain, and Projects at Bionpharma. These witnesses could only have
discoverable information pertaining to the patent issues in these cases---not the antitrust issues. Azurity has repeatedly
represented to the Court that “patent discovery is largely complete.” 21-1286 D.I. 264, JSS at 4. Thus, Bionpharma sees
no reason why Azurity cannot and will not proceed with these depositions in May. Your email references “outstanding
discovery deficiencies,” including “Bionpharma’s refusal to answer several of Azurity’s interrogatories,” but you fail to
identify what Bionpharma interrogatory responses impact Azurity’s ability to prepare for and proceed with these
                                                            17
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depositions. Your attempt to hold the scheduling of these depositions hostage unless and until certain unidentified
discovery responses are supplemented is improper, particularly given Azurity’s repeated representation regarding
patent discovery being “largely complete.” Your email in no way indicates that any outstanding antitrust discovery from
Bionpharma could be useful in preparing for or proceeding with these depositions. Your email references the
documents Bionpharma recently produced, but those documents generally relate to Bionpharma’s antitrust
counterclaims (e.g., Bionpharma’s efforts to secure a new supplier). In short, there is no reason Azurity cannot take
these depositions now, and we need to schedule those depositions soon in order to accommodate those individuals’
busy schedules. If Azurity refuses to move forward with these depositions, Bionpharma will bring that refusal to the
Court’s attention in the event the schedule needs to be extended. Indeed, Azurity previously pointed to those
depositions as a supposed indication of Azurity’s diligence. Id. at 4 (“Azurity has been proceeding diligently to complete
fact discovery. For example, Azurity has noticed seven depositions to Bionpharma and its personnel.”). But now, Azurity
is in fact using those depositions to forestall discovery.

Moreover, Azurity’s apparent inability (or unwillingness) to advance discovery promptly is directly at odds with what
Azurity told the Court. In advocating for an expedited case schedule, Azurity told the Court, “that all remining [sic]
antitrust discovery can be completed by May 5, 2023.” Id. In the last two months, Azurity has delayed providing
antitrust discovery to which Bionpharma is entitled. Again, in the event an extension of the fact discovery deadline
becomes necessary, Bionpharma will make clear to the Court that Azurity’s delay is the sole cause of any need for an
extension.

In response to your email’s remaining points, first, we do not see why Azurity believes it needs to May 11, 2023 (nearly
three weeks after our meet-and-confer) before it can exchange supplemental response for damages interrogatories (i.e.,
Azurity’s supplemental responses to Bionpharma ROG Nos. 5, 7-9 and Bionpharma’s supplemental responses to Azurity’s
ROG Nos. 5-10). Azurity was pushing to exchange supplemental damages interrogatory responses last November (see
10/28/22 email from G. Kaufman) and, again, two months ago, Azurity told the Court that “patent discovery is largely
complete, [and] [d]epositions are the main item yet to be accomplished.” 21-1286 D.I. 254, JSS at 4. Now, Azurity
apparently is unable even to supplement its own interrogatory responses by its requested May 5, 2023 close of fact
discovery. Coupled with Azurity’s refusal to proceed with patent fact depositions, Azurity’s dilatory tactics are clear, and
we intend on chronicling all of this for the Court should a schedule extension become necessary. We ask that Azurity
reconsider its refusal to exchange supplemental damages interrogatory responses before May 11—Bionpharma stands
ready to exchange supplemental damages interrogatory responses now.

With respect to SLVT-EPA_0122018, your email seems to imply that you believe you have satisfied your obligation and
commitment to produce documents sufficient to show the ownership of, organizational structure of, and corporate
relationship s between Azurity, NovaQuest, and CoreRx. See 11/1/22 email from G. Kaufman (“Azurity is willing to
produce documents sufficient to show the ownership of, organizational structure of, and corporate relationships
between Azurity, NovaQuest, and CoreRx and answer the related interrogatory.”). The production of a single chart
showing ownership of Azurity is not a complete or adequate responses to Bionpharma’s document requests on this
topic and falls short of what Azurity represented at the eleventh hour that it would produce to Bionpharma in order to
avoid a motion to compel. See id. Now that the parties are nearly seven months past Azurity’s representation about the
discovery that would be forthcoming on this topic, Bionpharma is left with the impression that Azurity is reneging on its
commitment. Please be ready to discuss this issue at the meet and confer we have currently scheduled for Thursday.

Next, your email seems to take issue with our recognition that the “seven outstanding documents” from the
Bionpharma v. CoreRx suit have been “previously been withheld.” Make no mistake, those documents were previously
withheld from production in these Delaware Third Wave Suits, ostensibly due to Azurity’s desire to sidestep the
structure of the protective order in this case. Ultimately, Bionpharma’s Delaware counsel did not receive those
documents until the very day of Amit Patel’s deposition. As we’ve made clear to you, we reserve the right to approach
the Court in these Third Wave Suits to seek leave to further question Mr. Patel regarding the sham CoreRx suits in light
of Azurity’s dilatory production of documents, including Azurity refusal to produce the “seven outstanding documents”
to Bionpharma’s Delaware counsel prior to Mr. Patel’s deposition.


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We have yet to receive any supplemental production from Azurity concerning invalidity/non-infringement documents
recently served or produced in related litigation, including in the Annora litigation. See 4/19/23 email from R.
Shrestha. As these documents have been recently served/produced/filed (see, e.g., 21-196 D.I. 208-209, 222-227), we
do not understand why Azurity is delaying production of these documents. Please be ready to discuss this issue on
Thursday.

Regarding my March 7, 2023 letter, we take your representations during our call and in your email to indicate that
unless the documents articulated in my March 7 letter are those that you specifically refused to produce in Azurity’s
Responses and Objections to Bionpharma’s First Set of Document Requests, Azurity will produce those documents to the
extent they exist. We will follow up with you in the event Azurity’s production remains deficient. To that end, please
confirm when you will produce these documents. Again, Azurity’s unexplained delay here is apparent, and is particularly
striking given its representation to the Court: “Azurity respectfully submits that all remaining antitrust discovery can be
completed by May 5, 2023.” 21-1286 D.I. 264, JSS at 4.

As I indicated during our call and in my email on Friday, we are available to meet and confer on Thursday, at which point
we will expect answers to the questions above. In the meantime, we have yet to receive information from Azurity
elucidating what if anything it believes remains deficient in Bionpharma’s discovery responses—your delay in providing
this information hinders our ability to prepare adequately and to provide Azurity on Thursday with Bionpharma’s
positions as to the alleged, but yet unidentified, deficiencies. This does not make for an efficient meet and confer
process. We ask that you provide us with a specific identification of any alleged deficiencies in Bionpharma’s discovery
requests responses soon so that we can adequately prepare for Thursday’s meet and confer.

Best regards,
Luke

From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Monday, April 24, 2023 4:42 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies


Luke,

We are in receipt of your email. We respond to your points below:

       Azurity commits to supplement its damages interrogatory responses by Thursday May 11. Azurity commits to
        supplement its Delaware Default Standard Paragraph 3 disclosures to include any custodians likely to have
        documents and ESI responsive to Bionpharma’s antitrust counterclaims, and Azurity’s defenses to those
        counterclaims, by Friday, May 5.
       Thank you for confirming receipt of SLVGT-EPA_0122018, which was re-produced from the related SDNY case to
        this case on February 21. Thus, Azurity has already produced responsive documents. As stated on the call and as
        previously communicated to your co-counsel, we will be re-producing the seven outstanding documents under
        the highest confidentiality designation available in the in Delaware case. We also note that Bionpharma likely
        already has responsive material in its possession, custody, or control because it, along with Signet, sold CoreRx
        to NovaQuest.
       Thank you for confirming receipt of SLVGT-EPA_0122876.
                                                            19
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         Azurity stated that it will reproduce the seven documents, which contain board meeting minutes. Azurity
          reserves all rights and will produce these documents subject to its responses and objections.
         Bionpharma mischaracterizes the seven outstanding documents as having “previously been withheld.”
          Bionpharma has been in possession of these documents since Azurity originally produced them in the related
          SDNY action on February 3.
         With regards to the categories of documents discussed in your weeks-old letter and in your email below, we
          refer you to our prior discovery responses and note that to the extent we agreed to produce documents, we
          have done so or will do so. We note that this issue was not on the agenda for the meet and confer—indeed,
          Bionpharma did not respond to my email setting the meet and confer agenda with a list of topics Bionpharma
          wished to cover. Moreover, upon further review, we note that several of these categories are overbroad and do
          not seem to relate to the claims and defenses at issue in this case. Nevertheless, we can confirm that, to the
          extent documents falling into those categories you enumerated were pulled by the search conducted consistent
          with our discovery responses, we did not withhold such documents from production. If Bionpharma is asking
          something different, we are available to further meet and confer on this point on Thursday. Additionally, we
          reiterate our invitation to review our production and come back to us with specific and discrete categories of
          documents which Bionpharma believes it needs.
         With regards to the depositions, due to Bionpharma’s outstanding discovery deficiencies—including, inter alia,
          Bionpharma’s refusal to answer several of Azurity’s interrogatories—Azurity cannot, and is under no obligation
          to, move forward with depositions on Bionpharma’s unilaterally set dates. Moreover, Azurity has not yet
          reviewed the 60,000 pages Bionpharma produced at 1:30 AM on the day of our meet and confer, and thus
          cannot assess whether Bionpharma is in compliance with its discovery obligations. Azurity intends to resolve or
          raise with the Court Bionpharma’s discovery deficiencies before committing to depositions.
         We thank you for agreeing to meet this Thursday at 2 PM ET / 1 PM CT. I have sent you a calendar invite, please
          let me know if you did not receive it. We will follow up with a list of topics for discussion. We ask Bionpharma to
          add any specific issues it would like to discuss. Incorporating lengthy and numerous attorney correspondence by
          reference does not provide Azurity sufficient notice to prepare to discuss topics and have a productive meeting.

In addition to the above, we note that Bionpharma confirmed that the parties are at impasse with respect to
Bionpharma’s interrogatory non-responses.

Best,
Alex


From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Friday, April 21, 2023 7:23 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Counsel:

Thank you for you availability to meet and confer this afternoon. To recap a few points from our discussion:

                                                              20
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By Monday, April 24, Azurity will provide by email a date certain by which it will be in position to supplement its
interrogatory responses regarding damages. Ideally, that date certain is no later than May 8. As we discussed, if Azurity
cannot commit to supplementation by that date, we will understand the parties to be at an impasse and will bring this to
the Court’s attention for redress. Azurity will also provide by April 24 a date by which it will supplement its Delaware
Default Standard Paragraph 3 disclosures to include custodians likely to have documents and ESI responsive to
Bionpharma’s antitrust counterclaims.

You confirmed that Azurity has already produced or will produce documents sufficient to show the ownership of,
organizational structure of, and corporate relationship s between Azurity, NovaQuest, and CoreRx (as it previously
agreed to do late last year, see Nov. 1, 2022 email from G. Kaufman). You stated that these documents, at least in part,
have recently been produced. We have located SLVGT-EPA_0122018, which appears to show ownership of Azurity and
the corporate relationship between Azurity and NovaQuest. We have, however, been unable to locate other documents
Azurity has agreed to produce from this category of documents, such as sufficient to show the organizational structure
of Azurity, NovaQuest, and CoreRx, documents sufficient to show the ownership of and corporate relationships between
NovaQuest and CoreRx, and documents sufficient to show the corporate relationship between Azurity and
CoreRx. Please confirm that Azurity will be producing these documents (as it has already agreed to do).

You stated that the Amneal settlement has been produced at SLVGT-EPA_0122876. We can confirm that we are in
possession of this document and it appears to be the Azurity-Amneal settlement agreement; thank you for your
assistance in locating this document.

You confirmed that Azurity will produce documents relating to actual or potential generic competition with Epaned,
including but not limited to board meeting minutes; internal emails, correspondence, and memoranda; and
correspondence with third parties regarding generic competition with Epaned. We reserve our right to follow up with
you again in the event Azurity’s production is deficient.

You confirmed that Azurity will produce the “seven outstanding documents” from the Bionpharma v. CoreRx suit in the
Southern District of New York, referenced in Alex’s February 21, 2023 and my March 1, 2023 letters, which had
previously been withheld.

You confirmed that you are not withholding from production the following categories of documents, outlined in my
March 7, 2023 letter: documents detailing any price competition between Epaned and other branded drugs; projections
of market share estimates of Epaned; documents detailing the timing of entry of other branded blood pressure
medications, including any documents detailing potential impact on Epaned of such entry; documents detailing the
timing of market entry of other generic blood pressure medications, including documents detailing potential impact on
Epaned of such entry; projections of AB-rated generic enalapril market entry, including any projections of anticipated
Epaned and/or generic pricing and Epaned and/or generic sales and/or market share following generic entry; documents
detailing the amount of, and reasons for, discounts, rebates, or other price concessions (if any) paid by Azurity on
Epaned ; Epaned sales (invoice) data sufficient to show, for each sales transaction, the product, strength, gross price, net
price, quantity sold, customer name, and customer ID; forecasts of AB-rated generic launch by Azurity, including
forecasts of associated impact to Epaned pricing and volume; forecasts of AB-rated generic launched by other
manufacturers, including forecasts of associated impact to Epaned pricing and volume; documents detailing the timing
of Paragraph IV ANDA submissions with respect to Epaned made by generic manufacturers other than Bionpharma;
documents detailing Azurity’s internal estimates of the launch timing of each enalapril Paragraph IV ANDA filer; and
Azurity’s business plans and other strategic planning documents for Epaned, including but not limited to any that
address the prospects for, and effects of, potential generic competition.

Late last year, Azurity noticed up the depositions of Latha Paniker, Nath Punji, and Nithya Murthy and, on Wednesday of
this week, we provided you with dates of availability for these witnesses: May 16 (Paniker), May 17 (Punji), and May 19
(Murthy), 2023. We asked you to confirm that Azurity will proceed with these depositions on the dates provided. You
indicated that you would get back to us on this soon. The dates we have proposed for these witnesses are a little over 3
weeks away, and these witnesses carry busy schedules—please get back to us on this as soon as possible.

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You suggested that you may believe that certain of Bionpharma’s responses to Azurity’s documents requests and either
Bionpharma’s Rule 26(a)(1) initial disclosures or its Default Standard Paragraph 3 disclosures may be, in your view,
deficient. We remain available to discuss on Thursday, April 27, at 2:00 pm ET / 1:00 pm CT. As we discussed on today’s
call, in order to ensure that we can be prepared to discuss what you believe may be deficient, and to properly set up the
meet and confer, we expect that you will set forth by letter or email the specific document requests and responses at
issue, as well as the relevant initial disclosures, and the bases for your conclusion that any deficiencies exist. We look
forward to receiving that letter or email sufficiently in advance of Thursday to allow us time to consider Azurity’s
positions and prepare for Thursday’s call.

We look forward to hearing from you by Monday, April 24.

Best regards,
Luke



From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Monday, April 17, 2023 4:48 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Alex,

Thanks for confirming your availability. Within the times you provided, we are available at 3:00 pm CT / 4:00 ET, Friday,
April 21, and will look forward to speaking with you then. For the call, we can use the following dial in:

Join Zoom Meeting
https://taftlaw.zoom.us/j/3161014543

Meeting ID: 316 101 4543
One tap mobile
+13126266799,,3161014543# US (Chicago)
+13092053325,,3161014543# US

Dial by your location
     +1 312 626 6799 US (Chicago)

Your email’s gratuitous attempt to pin blame on Bionpharma for Azurity’s delay serves no purpose other than to risk
distraction. Your email misrepresents the Consolidation and Scheduling Order (Case No. 21-1286, D.I. 293), involving a
scheduling dispute that Azurity lost on. In fact, in that Order, the Court explicitly acknowledged Bionpharma’s legitimate
concern stemming from the fact that Azurity refused to engage in antitrust discovery during the bulk of 2022. The
parties’ communications (see the trailing emails below) illustrates what we fear is Azurity’s continued attempts to avoid
Bionpharma’s efforts to complete discovery, further jeopardizing the case schedule. For example, while we appreciate
you finally getting back to us on Azurity’s availability to meet and confer, Azurity continues to dodge Bionpharma’s offer
to exchange supplemental damages interrogatory responses. We ask again: Will Azurity agree to a mutual exchange of
supplemental damages interrogatory responses tomorrow, Tuesday, April 18, by 5:00 pm ET?
                                                            22
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 52 of 81 PageID #: 5627


We look forward to hearing from you.

Best regards,
Luke



From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Friday, April 14, 2023 3:33 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

We are available to meet and confer Friday between 12 PM - 2 PM ET or from 3 PM - 5 PM ET. Please be prepared to
discuss:

    1. Whether Bionpharma should provide an answer to any of Azurity’s antitrust Interrogatories Nos. 11-15;
    2. Whether Bionpharma should begin producing antitrust discovery;
    3. Whether Bionpharma should amend its initial disclosures to identify more than one individual having or likely to
       have information relating to Bionpharma’s antitrust counterclaims;
    4. Whether Bionpharma should produce certain categories of documents related to damages it has previously
       consented to producing;
    5. Whether Bionpharma should supplement its answers to certain interrogatories relating to damages which it has
       previously agreed to supplement; and
    6. Whether Bionpharma should be compelled to answer certain interrogatories from prior litigation between the
       parties as required by the Court’s Scheduling Order.

We note that, as has been the case throughout antitrust discovery in these matters, Bion’s sudden rush to meet and
confer is “belated and inconsistent.” D.I. 293 at 30. Azurity asked Bionpharma to meet and confer in multiple letters over
the course of months. Bion refused to set a time to meet, instead insisting that Azurity should meet Bion’s numerous,
arbitrary, and unsupported preconditions before Bion would agree to a simple phone call. We are glad to see that Bion
now, like the Court, finally “agree[s] with Azurity that further delay should be minimized.” Id.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Thursday, April 13, 2023 7:11 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan

                                                            23
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 53 of 81 PageID #: 5628
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex:

We still have not heard back from you on our repeated requests to meet and confer regarding the deficiencies outlined
in my February 24, March 1, and March 7, 2023 letters, and Azurity’s continued refusal to supplement its Delaware
Default Rule 3 initial disclosures (as well as our proposal for a mutual exchange of supplemental damages interrogatory
responses). Azurity’s apparent decision to ignore our requests is improper. By close of business tomorrow, April 14,
please provide your availability for a meet and confer Monday, Thursday, or Friday of next week. If we fail to hear from
you by tomorrow, we will plan to submit a letter to the Court early next week requesting a discovery conference and
notifying the Court that Azurity refuses to comply with the meet and confer requirements provided by the scheduling
order.

Best regards,
Luke

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Friday, April 7, 2023 5:56 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Alex:

We never heard back from you on our proposal for a meet and confer this Tuesday, April 4. Please provide us with your
availability to meet and confer next week regarding the deficiencies outlined in my February 24, March 1, and March 7,
2023 letters, and Azurity’s continued refusal to supplement its Delaware Default Rule 3 initial disclosures.

Further, as mentioned in my email from last Wednesday (below), Bionpharma is ready to move forward with an
exchange of supplemental responses to damages interrogatories that the parties had discussed late last year prior to the
stay. We had proposed a mutual exchange for last Friday, March 31, at 1 PM EDT, but never heard back from Azurity on
this. Please get back to us on this as soon as possible.

Best regards,
Luke

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Wednesday, March 29, 2023 10:12 PM
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>

                                                           24
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 54 of 81 PageID #: 5629
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Alex:

We can be available for a meet and confer next Tuesday, April 4 at 1 PM EDT. Please circulate a dial in. And please be
prepared to discuss the issues raised in my February 24, March 1, and March 7, 2023 letters, including Azurity’s
continued refusal to supplement its Delaware Default Rule 3 initial disclosures, as well.

Also, Bionpharma would like to move forward with an exchange of Bionpharma’s supplemental responses to Azurity
ROG Nos. 5-10, and Azurity’s supplemental responses to Bionpharma ROG Nos. 5 and 7-9. We propose a mutual
exchange this Friday, March 31, at 1 PM EDT—please confirm that works for Azurity.

Best regards,
Luke



                Luke T. Shannon, Of Counsel
                Intellectual Property
                Direct: 312.836.4115 | Office Ext: 34115
                Taft Office: Chicago




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From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Tuesday, March 28, 2023 11:44 AM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

We were on the line at the time we proposed below, but Bionpharma did not join. Please propose another time when
Bionpharma will be available to discuss its discovery obligations. We suggest this Friday, March 31, at 1:30 PM ET. We
are available to discuss Azurity’s discovery obligations at another time. Please propose a date for that meeting.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Friday, March 24, 2023 3:19 PM
                                                             25
        Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 55 of 81 PageID #: 5630
To: Poonai, Alexander <apoonai@wsgr.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Alex,

Thanks for proposing a time to meet and confer. By “these issues,” presumably you include Azurity’s failure to
supplement its responses to Bionpharma’s first sets of discovery requests, which we served over a year ago and include
Bionpharma’s antitrust discovery requests, as explained in, e.g., my Feb. 21, 2023 letter. As we’ve explained in the past,
we need those supplemented responses in order to know whether and to what extent a dispute exists between the
parties concerning the antitrust discovery that Bionpharma seeks from Azurity; in other words, we need your
supplementation before any meet and confer in order to ensure that our meet and confer can be fruitful. Can you
commit to providing those supplemented discovery request responses (including any supplemented interrogatory
responses noted in my March 22, 2023 letter) before March 28?

Best regards,
Luke



From: Poonai, Alexander <apoonai@wsgr.com>
Sent: Thursday, March 23, 2023 4:32 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Luke,

We would like to meet and confer on these issues. We are available Tuesday, March 28 between 9:30 AM ET and 12 PM
ET. We will send a calendar invite, and if you are not available, please propose another time.

Best,
Alex

From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Wednesday, March 22, 2023 10:49 AM
To: Kaufman, Granville <gkaufman@wsgr.com>; Poonai, Alexander <apoonai@wsgr.com>; WSGR - Silvergate -
Bionpharma <silvergate_bionpharma@wsgr.com>; MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger,
Megan E. <mdellinger@morrisnichols.com>; Blumenfeld, Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann

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     Case 1:21-cv-01286-MSG Document 333-1 Filed 06/08/23 Page 56 of 81 PageID #: 5631
<BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Counsel,

Please see the attached.

Best regards,
Luke

From: Kaufman, Granville <gkaufman@wsgr.com>
Sent: Tuesday, March 7, 2023 8:36 PM
To: Shannon, Luke T. <LShannon@taftlaw.com>; WSGR - Silvergate - Bionpharma <silvergate_bionpharma@wsgr.com>;
MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld,
Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: RE: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

Counsel,

Please see the attached correspondence.

Regards,

Granville Clay Kaufman| Associate | Wilson Sonsini Goodrich & Rosati, Professional Corporation
12235 El Camino Real | San Diego, CA 92130 | T: 213-369-3593 | gkaufman@wsgr.com | www.wsgr.com


From: Shannon, Luke T. <LShannon@taftlaw.com>
Sent: Friday, February 24, 2023 2:30 PM
To: Kaufman, Granville <gkaufman@wsgr.com>; WSGR - Silvergate - Bionpharma <silvergate_bionpharma@wsgr.com>;
MNAT Internal <56518-0002.wilm@wcs.mnat.com>; Dellinger, Megan E. <mdellinger@morrisnichols.com>; Blumenfeld,
Jack <JBlumenfeld@morrisnichols.com>; Chard, Beth Ann <BChard@morrisnichols.com>
Cc: Alul, Andrew M. <AAlul@taftlaw.com>; Shrestha, Roshan P. <rshrestha@taftlaw.com>; Johnson, Aaron
<AJohnson@Taftlaw.com>; Christopher Kelly <cjkelly@mayerbrown.com>; Jack Phillips <JCP@PMHDELaw.com>; Megan
Haney <mch@PMHDELaw.com>
Subject: Azurity v. Bionpharma, Nos. 21-1286, 21-1455 (D. Del.): Production Deficiencies

EXT - lshannon@taftlaw.com


Granville,


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Please see the attached.

Best regards,
Luke


                Luke T. Shannon
                Of Counsel
                LShannon@taftlaw.com
                Dir: 312.836.4115
                Tel: 312.527.4000 | Fax: 312.527.4011
                111 E. Wacker Drive, Suite 2600
                Chicago, Illinois 60601-4208


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                                 Exhibit B
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                             UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK



     BIONPHARMA INC.,
                    Plaintiff,

     v.                                                          Case No. 1:21-CV-10656-JGK

     CORERX,INC.,
                            Defendant.

                              DECLARATION OF VERN DAVENPORT

                   I, Vern Davenport, state the following under penalty of perjury:

           1.      I am a member of the board of directors of CoreRx, Inc.("CoreRx"). I joined the

    CoreRx Board subsequent to an acquisition of the majority of the stock of CoreRx by a fund

    affiliated with NovaQuest Capital Management in January 2021.

           2.      I am a member of the board of directors of Azurity Pharmaceuticals, Inc.

   ("Azurity").

           3.      I have not been, and am not currently, involved in the daily management of CoreRx

    or Azurity. I did not make any decision about or provide any recommendation related to whether

    CoreRx should or should not (a) manufacture enalapril maleate oral liquid solution for,(b) sell

    enalapril maleate oral liquid solution to, or (c) stop manufacturing and selling enalapril maleate

    oral liquid solution for and to Bionpharma Inc.("Bionpharma").

           4.      I had no advance knowledge that Azurity was planning to file any lawsuit against

    CoreRx. I did not learn about the lawsuit filed by Azurity against CoreRx in October 2021 until

    after Azurity filed the lawsuit. I did not learn about the lawsuit filed by Azurity against CoreRx

    in April 2022 until after Azurity filed the lawsuit.

           5.      After Azurity filed its lawsuit against CoreRx in October 2021, I discussed with


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    another CoreRx board member named Jeff Edwards that we should not be involved in decisions

    related to the lawsuit filed by Azurity because we were directors for both CoreRx and Azurity.

    We decided that CoreRx's CEO, Ajay Damani, should proceed in the manner that he thought

    would be in the best interest of CoreRx. I do not remember whether I informed Mr. Damani of

    that decision or if Mr. Edwards had that discussion with Mr. Damani.

           6.      I did not have anything to do with CoreRx's decision to enter the November 24,

    2021 Settlement Agreement between CoreRx and Azurity and did not have anything to do with

    determining the terms of the November 24, 2021 Settlement Agreement between CoreRx and

    Azurity. I did not discuss with anyone from CoreRx whether CoreRx should or should not settle

    with Azurity or the terms of any potential settlement. I did not know CoreRx and Azurity planned

    to enter a settlement agreement with each other until after they entered the November 24, 2021

    Settlement Agreement.

           7.      In order to perform my duties as a board member of CoreRx, CoreRx's

    management, including Ajay Damani, provides me with information regarding the status of the

    company. From the time when Mr. Damani was named as CEO of CoreRx until today, I do not

    believe I have any knowledge regarding CoreRx that Mr. Damani does not also possess.

           8.      I serve as one offive partners at QHP Capital("Q1-1P"), formerly part ofNovaQuest

    Capital Management. I am one of the people in charge of transaction origination and execution

    and investment policy for QHP. I sit on the Private Equity Investment Committee for QHP. It

    would be burdensome both for me personally and for QHP for me to prepare for and attend a

    deposition in this action.

           9.      I reside in and my office is in North Carolina.




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    I declare under penalty of perjury that the foregoing is true and correct.

    Executed on January 27 , 2023.

                                                                       VAliVa    t
                                                                                 r (Jan 27, 2023 14:46 EST)

                                                                                   Vern Davenport




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                   EXHIBIT 7
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                                 Exhibit C
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                           REDACTED
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


  BIONPHARMA INC.,                                     )
                                                       )
                        Plaintiff,                     )   Case No. 1:21-cv-10656-JGK
                                                       )
         v.                                            )   FILED UNDER SEAL
                                                       )
  CORERX, INC.,                                        )
                                                       )
                        Defendant.                     )
                                                       )
                                                       )

             DECLARATION OF AMIT M. PATEL IN SUPPORT OF
  AZURITY PHARMACEUTICALS, INC.’S MOTION TO INTERVENE TO MOVE FOR
   RECONSIDERATION OF OR APPEAL ORDER GRANTING INJUNCTIVE RELIEF

         I, Amit M. Patel, declare as follows:

         1.      I am currently the Chairman and Chief Executive Officer (“CEO”) for Azurity

  Pharmaceuticals, Inc. (“Azurity”). Silvergate Pharmaceuticals, Inc. (“Silvergate”) is wholly

  owned by Azurity. I refer to both collectively as “Azurity” in my declaration. My responsibilities

  include overseeing Azurity’s development, operational, commercial, and corporate functions, and

  guiding product strategy for the company’s portfolio (including Epaned®).

         2.      I have been the CEO of Azurity since January 2020. I have been a member of the

  Board of Directors of Azurity since 2018.

         3.      I have over twenty years of healthcare industry experience, including as Senior Vice

  President (“SVP”) and President of Dosage Form Solutions at Capsugel, a company that provided

  products and services to pharmaceutical and nutritional companies, and as Executive Vice

  President and Head, North America, and SVP and Head, Global Corporate Development &

  Strategic Planning, at Dr. Reddy’s Laboratories, Inc., a publicly-traded, global specialty-generic

  pharmaceutical company.


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          4.      In my role as CEO for Azurity,




          5.      I provide the facts set forth in this declaration based on my personal knowledge

  and, if called as a witness, I would be able to testify to those facts.

  I.      AZURITY AND EPANED®

          6.      Azurity is a specialty pharmaceutical drug company focused on developing

  medication for underserved populations, namely pediatric and elderly patients.




          7.      Azurity’s Epaned® is an easy-to-swallow, enalapril liquid medication indicated for

  the treatment of hypertension, heart failure, and left ventricular dysfunction (“LVD”) that is

  especially well-suited for pediatric and elderly patients. Epaned® has been a brand and product

  many years in the making.

                                Epaned® represents Azurity’s unique solution to the decades-old “pill

  burden” associated with oral administration of solid enalapril tablets as well as the patient safety

  concerns that arise from compounding such oral tablets into solution. In fact, it was the first FDA-

  approved ready-to-use enalapril solution.




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              8.




              9.     Azurity owns several patents directed to stable oral liquid formulations of enalapril.

  These include U.S. Patent Nos. 9,669,008, 9,808,442, 10,039,745, 10,154,987, 10,772,868,

  10,786,482, 10,799,476, 10,918,621, 11,040,023, 11,141,405, and 11,173,141.

  II.         BIONPHARMA’S ABBREVIATED NEW DRUG APPLICATION & CORERX

              10.    Bionpharma Inc. (“Bionpharma”) filed an Abbreviated New Drug Application

  (“ANDA”) No. 212408, which is for a generic enalapril oral solution product to Azurity’s

  Epaned®. While Bionpharma’s ANDA was pending at FDA, Azurity sued Bionpharma for patent

  infringement by its generic drug product of several of the patents I identified above. Later, after

  additional patents issued, Azurity brought additional suits for Bionpharma’s infringement of the

  newly obtained patents. Litigation concerning Bionpharma’s infringement is ongoing.

              11.    Following Bionpharma’s sale of its ANDA product that was manufactured and

  supplied by CoreRx Inc. (“CoreRx”), Azurity sued CoreRx for patent infringement based on that

  manufacture and supply. Azurity sued CoreRx where it is located (M.D. Fla.) and where the rest

  of the dispute was already being litigated (D. Delaware). Azurity and CoreRx were able to

  negotiate a settlement between the parties for CoreRx’s infringement and entered into a Litigation

  Settlement Agreement on November 24, 2021. Ex.1 7.


        1
            Ex. refers to Exhibits in the Eli B. Richlin Declaration accompany this Declaration.


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         12.     I understand that Bionpharma has speculated that NovaQuest Capital Management

  L.L.C. (“Novaquest”) participated in a strategy relating to Azurity’s litigations against CoreRx and

  the settlement thereof. That is not true. Novaquest was not involved in Azurity’s decision to

  initiate litigation against CoreRx and took no positions on whether the companies pursued or

  reached settlement. Moreover, Bionpharma has speculated that CoreRx and Azurity are somehow

  working in collusion to protect one-another’s interests. This is absolutely false – both parties are

  only looking towards their own interests.

         13.     At this time, Azurity has not yet fully calculated its damages due to CoreRx’s

  infringement prior to the date of the CoreRx Litigation Settlement Agreement.               Neither

  Bionpharma nor CoreRx have provided their sales records to-date




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         14.    I understand that Bionpharma has asked this Court to order CoreRx to manufacture

  and supply 18,000 units for Bionpharma.




         15.    Azurity has also asserted and would continue to assert that the infringement has

  been willful and would continue to be, if resumed. Under applicable law, a Court is likely to

  multiply damages up to three-times for willful infringement. Three-times the damages amounts

  roughly estimated above




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  III.   IMPACT OF BIONPHARMA’S AT-RISK GENERIC LAUNCH

         16.    Bionpharma launched its generic oral solution product to Azurity’s Epaned® on or

  about August 16, 2021.




         17.    Because Bionpharma is no longer being supplied its generic version of enalapril

  maleate and barring any resumption of Bionpharma’s supply or entry of another generic

  competitor,




         18.




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        19.




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        21.




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        22.




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          24.     Even if Azurity is able to secure a damages judgment for the infringement of its

  patents by Bionpharma’s generic product, I have concern that Azurity would be able to collect that

  judgment from either Bionpharma or CoreRx. I understand that CoreRx has represented that it

  would be unable to pay such damages and doubts Bionpharma’s ability to indemnify it for the

  same, and damages would be significant.




          25.




          I declare under the penalty of perjury under the laws of the United States that the foregoing

  is true and correct.




  2/2/2022
  Date                                                  Signature




                                                   9
